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                                                                     Faulkner County Circuit Court
                                                                      Crystal Taylor, Circuit Clerk
                                                                     2018-Jul-25 14:31:23
                                                                        23CV-18-1102
                                                                     C20D01 : 119 Pages

            IN THE COURT OF FAULKNER COUNTY ARKANSAS

WILLIAM F. DOSHIER;
and dotStrategy, Co.                                         PLAINTIFFS

vs.                      NO.
                             ---------
TWITTER, INC.                                                DEFENDANT


                        CLASS ACTION COMPLAINT

                          JURY TRIAL DEMANDED

      Plaintiff William F. Doshier, hereinafter referred to as DOSHIER, on

behalf of himself and dotStrategy, Co., hereinafter referred to as

DOTSTRATEGY, and all others similarly situated, alleges the following

against Defendant TWITTER, INC., hereinafter referred to as TWITTER,

based on personal knowledge as to Plaintiff and Plaintiff's own acts and on

information and belief as to all other matters based upon, inter alia, the

investigation conducted by and through Plaintiff's undersigned counsel:

                          SUMMARY OF THE CASE

1.    TWITTER is an online news and social networking service on which

      users post and interact with messages known as "tweets."

2.    According to TWITTER, "Twitter is what's happening in the world and

      what people are talking about right now."



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3.   What people in the print media are talking about right now is that

     TWITTER has a fake account problem.

4.   A recent Washington Post article states, "Twitter suspended more

     than 70 million accounts in May and June, and the pace has continued

     in July ... " Craig Timberg and Elizabeth Dwoskin, Washington Post: The

     Switch (July 6, 2018), Twitter is sweeping out fake accounts like

     never before, putting user growth at risk,

     https://www.washingtonpost.com/technolog y/2018/07 /06/

     twitter-is-sweeping-out-fake-accounts-like-ne ver-before-putting-user-gr

     owth-risk/?utm term= .bde98b67148b.

5.   A recent article from The Hill states, "Twitter suspended at least 58

     million accounts in the last quarter of 2017 according to numbers

     reviewed by the Associated Press. The new figure comes after the

     company confirmed that it separately booted another 70 million fake

     accounts from its platform between May and June." Ali Breland, The

     Hill (July 17, 2018), Twitter suspended 58 million accounts last

     quarter of 2017, http://thehill.com/policy/technology/

     397 494-twitter-suspended-5 8-million-

     accounts-in-last-quarter-of-2017.

6.   A recent N.Y. Times article states the following:

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     The real Jessica Rychly is a Minnesota teenager with a broad smile and
     wavy hair. .. But on Twitter, there is a version of Jessica that none of
     her friends or family would recognize ... All these [FAKE TWITTER]
     accounts belong to customers of an obscure American company
     named Devumi that has collected millions of dollars in a shadowy
     global marketplace for social media fraud. Devumi sells Twitter
     followers and retweets to celebrities, businesses and anyone who
     wants to appear more popular or exert influence online. Drawing on an
     estimated stock of at least 3.5 million automated accounts, each sold
     many times over, the company has provided customers with more than
     200 million [FAKE] Twitter followers, a New York Times investigation
     found. The [FAKE] accounts that most resemble real people, like Ms.
     Rychly, reveal a kind of large-scale social identity theft. At least
     55,000 of the [FAKE] accounts use the names, profile pictures,
     hometowns and other personal details of real Twitter users, including
     minors, according to a Times data analysis.

     Nicholas Confessore, Gabriel J.X. Dance, Richard Harris, and Mark

     Hansen, N.Y. Times (January 27, 2018), The Follower Factory,

     https://www.nytimes.com/interactive/2018/0 1 /27 /technology/social-m

     edia-bots.html

7.   Due to articles such as those mentioned above, DOSHIER has recently

     become aware of the rampant fake account problem plaguing

     TWITTER.

8.   According to the articles mentioned above, TWITTER has suspended a

     total of 128 million fake accounts, since they began doing so in the

     last quarter of 2017.




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9.    TWITTER knows, and has known that it has, and has had, a rampant

      fake account problem.

10.   "Bots, trolls and fake accounts are nearly as old as Twitter, which

      started operations in 2006. In 2015, Twitter's then-chief executive

      Dick Costolo acknowledged the problem in a company memo: 'We

      suck at dealing with abuse and trolls [AND FAKE ACCOUNTS] on the

      platform and we've sucked at it for years."' Timberg and Dwoskin,

      supra.

11.   TWITTER's internal documents will reveal the extent of their marketing

      fraud.

12.   "Leslie Miley, an engineer who worked on security and user safety at

      Twitter before leaving in late 2015, said, 'Twitter as a social network

      was designed with almost no accountability."' Confessore, supra.

13.   There is no accountability at TWITTER to Self-serve Advertisers, such

      as DOSHIER and Class members.

14.   Another N.Y. Times article states the following:

      Twitter said on Thursday that it had overstated its monthly-user
      figures since 2014 after mistakenly including data from third-party
      applications in its counting ... The company said it had discovered that
      its measure of monthly active users had been improperly including
      figures from third-party applications that used Digits, a
      software-development program. Digits is part of the Fabric mobile
      application platform that Twitter sold to Alphabet, Google's parent

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      company, this year. Digits allowed third-party applications to send
      authentication messages through Twitter's systems and did not reflect
      activity on the Twitter platform, the company said. As a result, the
      company lowered the number of monthly active users by two million
      for the first and second quarters of this year and by one million for the
      fourth quarter of 2016. Twitter said its data-retention policies made it
      unable to reconcile the figures for periods before last year's fourth
      quarter.

      Chad Bray, N.Y. Times (October 26, 2017), Twitter Says It Overstated

      Monthly-User Figures for 3 Years,

      https://www.nytimes.com/2017 /10/

      26/technology/twitter-q3-earnings-trolls.html .

15.   Due to TWITTER's data retention policies, there is no accountability to

      Self-Serve Advertisers, such as DOSHIER and Class members.

16.   Self-Serve Advertisers are not obligated to pay for fake Engagements.

17.   TWITTER represents that Self-Serve Advertisers "Only pay when

      [REAL] users follow your account or retweet, like, reply, or click on

      your Promoted Tweet."

18.   TWITTER defines an Engagement for a Promoted Tweet as follows:

      "The number of clicks, retweets, likes, follows and replies on a

      Promoted Tweet."




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19.    TWITTER defines an Impression for a Promoted Tweet as follows:

       "The number of users who see a Promoted Tweet either in their Home

       timeline or search results."

20.    On behalf of himself and Class members, DOSHIER has filed this class

       action to ask the court to hold TWITTER accountable for the direct

       damages that TWITTER has inflicted upon them by charging them for

       fake Engagements.

21 .   An Engagement that is generated through a fake TWITTER account is

       a fake Engagement.

22.    Plaintiff and Class members have been charged for fake Engagements,

       such as for "Website clicks or conversions" (Ad Clicks) generated

       through fake TWITTER accounts, for "clicks on Promoted Tweets" (Ad

       Clicks) generated through fake Twitter accounts, and for Follows

       generated through fake TWITTER accounts.

23.    On behalf of himself and Class members, DOSHIER has also filed this

       class action to ask the court to hold TWITTER accountable for the

       unjust enrichment of TWITTER. TWITTER has been unjustly enriched

       as a result of TWITTER having created both an artificial market and

       fake demand for ads placed on its website. TWITTER allows fake

       accounts to be created on the TWITTER platform and then allows fake

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      TWITTER accounts to perpetuate on the TWITTER platform. Such

      activity has resulted in fake Impressions, which have allowed TWITTER

      to profit at the expense of DOSHIER and Class members.

24.   An Impression that is generated through a fake TWITTER account is a

      fake Impression.

25.   TWITTER has inflated and continues to inflate the price to advertise on

      the TWITTER platform as a result of fake Impressions, either out of its

      unwillingness or inability to stem the proliferation of fake TWITTER

      accounts.

26.   "Some executives initially were reluctant to act aggressively against

      suspected fake accounts ... In November, one frustrated engineer

      sought to illustrate the severity of the problem by buying thousands of

      fake followers for a Twitter manager, said two people familiar with the

      episode. Bots can be readily purchased on a gray market of websites."

      Timberg and Dwoskin, supra.

27.   "These fake [TWITTER] accounts borrowed social identities from

      Twitter users in every American state and dozens of countries, from

      adults and minors alike, from highly active users and those who hadn't

      logged in to their accounts for months or years." Confessore, supra.




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28.   "Twitter had said in several public statements this year that it was

      targeting suspicious accounts, including in a recent blog post that

      nearly 10 million accounts a week were being "challenged" - a step

      that attempts to ascertain the authenticity of an account's ownership

      and requires users to respond to a prompt such as verifying a phone or

      email address." Tim berg and Dwoskin, supra.

29.   The abovementioned process whereby accounts are being "challenged"

      by TWITTER to ascertain the authenticity of the accounts is something

      that TWITTER could have been doing a long time ago, but they chose

      not to, as it would have impacted its advertising revenue.

30.   Although it is a labor intensive and time-consuming process, policing

      the TWITTER platform through the abovementioned account

      challenging process is straightforward and simple. Yet, TWITTER failed

      to implement policies, such as the account challenging process, until

      only recently, which has resulted in direct damages to Self-Serve

      Advertisers.

31.   "In May, Twitter announced major changes to the algorithms it uses to

      police bad behavior." Timberg and Dwoskin, supra.

32.   TWITTER could have made changes to its algorithms a long time ago,

      but chose not to, as it would have impacted its advertising revenue.

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33.   "[R]esearchers have for years complained that the [fake account]

      problem is far more serious and that Twitter's definition of a fake

      account is too narrow, allowing them to keep counts low. Several

      independent projects also have followed particular bots and fake

      accounts over many years, and even after the recent crackdown,

      researchers point to accounts with obviously suspicious behaviors,

      such as gaining thousands of followers in just a few days or tweeting

      around the clock. 'When you have an account tweeting over a

      thousand times a day, there's no question that it's a bot,' said Samuel

      C. Woolley, research director of the Digital Intelligence Lab at the

      Institute for the Future, a Palo Alto, Calif .-based think tank." Tim berg

      and Dwoskin, supra.

34.   TWITTER has willfully underestimated its fake account problem.

35.   TWITTER has willfully allowed fake TWITTER accounts to be created

      and perpetuated on its platform.

36.   By allowing fake accounts to generate fake traffic, TWITTER artificially

      inflates the actual amount of genuine traffic on its social network, thus

      creating an artificial market, or fake demand that they then market to

      Self-Serve advertisers such as DOSHIER and Class members.




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37.    TWITTER unequivocally represents that ads, or Promoted Tweets, are

       marketed to real people, or real TWITTER users with real TWITTER

       accounts, (i.e. real Impressions by real people, not fake people, or fake

       TWITTER users with fake TWITTER accounts). Simply put, an

       Impression is an exposure of an ad, or Promoted Tweet to a real

       person.

38.    TWITTER's "Advertise on Twitter" page can be found at the following

       link: https://ads.twitter.com.

39.    TWITTER represents on its "Advertise on Twitter" page that

       advertising on TWITTER will help you "Reach potential customers" and

       "Get your messages in front of [REAL] people not yet following you by

       promoting your Tweets."

40.    TWITTER represents on its "Advertise on Twitter" page that

       advertising on TWITTER will help you "Gain more followers" and

       "Quickly grow your community of high value [REAL] followers and

       drive word of mouth by promoting your account"

41 .   TWITTER represents on its "Advertise on Twitter" page that

       advertising on TWITTER will allow you to "Choose your target

       audience" and "Reach the right audience by targeting based on

       interests, geography, gender, device, or users similar to your [REAL]

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      followers. In addition, maximize the relevancy of your message by

      targeting by keywords in [REAL] people's Tweets."

42.   TWITTER represents on its "Advertise on Twitter" page that

      advertising on TWITTER will allow you to "Amplify your message and

      get discovered" and "Get your Tweets and your account in front of

      more [REAL] people who are interested in you."

43.   TWITTER represents on its "Advertise on Twitter" page that

      advertising on TWITTER will allow you to "Set a budget and pay for

      what works" and "Only pay when [REAL] users follow your account or

      retweet, like, reply, or click on your Promoted Tweet. You're in

      complete control. There's no minimum spend, and you can start and

      stop at any time."

44.   DOSHIER and Class members relied upon TWITTER's representations

      that their ads or Promoted Tweets would be marketed to real people

      with real TWITTER accounts, not fake people with fake Twitter

      accounts.

45.   DOSHIER and Class members relied upon TWITTER's representations

      as to the benefits of advertising on the TWITTER platform.

46.   By allowing fake accounts to generate fake TWITTER activity or traffic,

      TWITTER overestimates or inflates the actual amount of traffic on its

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       social network, thereby enticing Self-Serve Advertisers to place ads, or

       Promote Tweets, on the TWITTER platform.

4 7.   Inflated TWITTER traffic from fake TWITTER accounts allows

       TWITTER to charge more for its advertising, which directly results in

       inflated billings to Self-Serve Advertisers, such as DOSHIER and Class

       members.

48.    Over the time frame of October 2013 through December 2016,

       DOSHIER placed 34 ads in two Twitter accounts and was billed

       $2,220.76; 11 ads ran in a Twitter account handle @buzznames, 23

       ads ran in a Twitter account handle @dotstrategy. All ads were placed

       for the promotion of the . buzz domain name registry.

49.    Billing from TWITTER is based on a stated activity goal, such as

       creating new Follows, or generating ad clicks from TWITTER accounts

       in response to the placed ads placed by Self-Serve Advertisers, such

       as DOSHIER and Class members.

50.    A TWITTER ad placed by DOSHIER in the @dotstrategy account on

       December 3, 2016 generated 166,207 Impressions and 131 Ad Clicks

       with a total cost of $475.35 or approximately $3.63 per Click.

       Another way of looking at this is that the ad cost DOSHIER

       approximately $.0025 per Impression.

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51.   Of the 131 ad clicks that DOSHIER was directly billed for by TWITTER

      for the ad he placed for the @dotstrategy account on December 3,

      2016, DOSHIER suspects that a significant number of the ad clicks are

      from fake TWITTER accounts, but without transparency and

      accountability from TWITTER, the actual number of ad clicks, or

      percentage of the 131 ad clicks, that were generated by fake

      TWITTER accounts in the 131 ad clicks that DOSHIER was charged for

      by TWITTER will remain unknown.

52.   Of the 166,207 Impressions that were generated from the TWITTER

      ad placed by DOSHIER for the @dotstrategy account on December 3,

      2016, DOSHIER suspects that a significant number of the impressions

      are from fake TWITTER accounts, but without transparency and

      accountability from TWITTER, the actual number of Impressions, or

      percentage of 166,207 Impressions, that were generated by fake

      TWITTER accounts in the 166,207 total will remain unknown.

53.   Without transparency and accountability, the 166,207 Impressions and

      131 Ad Clicks for the ad placed by DOSHIER, for the @dotstrategy

      account, on December 3, 2016, are nothing more than worthless

      analytics, which DOSHIER purchased directly from TWITTER for a total

      cost of $475.35.

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54.   A TWITTER ad placed by DOSHIER in the @buzznames account on

      October 1, 2015 generated 6,226 impressions and 14 Follows with a

      total cost of $51.05 or approximately $3.65 per Follow. Another way

      of looking at this is that the ad cost DOSHIER approximately $ .0082

      per Impression.

55.   Of the 14 Follows that DOSHIER was directly billed for by TWITTER

      for the ad he placed for the @buzznames account on October 1, 2015,

      DOSHIER suspects that a significant number of the Follows are from

      fake TWITTER accounts, but without transparency and accountability

      from TWITTER, the actual number of Follows, or percentage of the 14

      Follows, that were generated by fake TWITTER accounts, for the 14

      Follows that DOSHIER was charged for by TWITTER, will remain

      unknown.

56.   Of the 6,226 impressions that were generated from the TWITTER ad

      placed by DOSHIER for the @buzznames account on October 1, 2015,

      DOSHIER suspects that a significant number of the impressions are

      from fake TWITTER accounts, but without transparency and

      accountability from TWITTER, the actual number of Impressions, or

      percentage of the 6,626 Impressions, that were generated by fake

      TWITTER accounts total will remain unknown.

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5 7.   Without transparency and accountability, the 6,226 Impressions and

       14 Follows for the ad placed by DOSHIER, for the @buzznames

       account on October 1 , 201 5, are nothing more than worthless

       analytics, which DOSHIER purchased directly from TWITTER for a total

       cost of $51 .05

58.    Without transparency and accountability, TWITTER's Impressions and

       Engagements, which TWITTER markets to Self-Serve Advertisers, such

       as DOSHIER and Class members, are nothing more than worthless

       analytics.

59.    TWITTER should be estopped from, and held liable for, marketing

       worthless analytics.

60.    TWITTER should be estopped from, and held liable for, selling fake

       Engagements.

61.    TWITTER should be estopped from, and held liable for, marketing fake

       Impressions.

62.    TWITTER should be estopped from, and held liable for, creating an

       artificial market, or fake demand for ads, or Promoted Tweets, placed

       on the TWITTER platform.

63.    TWITTER should be estopped from, and held liable for, selling fake

       Follows.

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64.   "[Del] Harvey [Twitter's vice president for trust and safety] said the

      company was planning to go further in the year ahead. 'We have to

      keep observing what the newest vectors are, and changing our ways

      to counter those,' she said. 'This doesn't mean we're going to sit on

      our laurels."' Timberg and Dwoskin, supra.

65.   Unfortunately for TWITTER advertisers, such as DOSHIER and Class

      Members, TWITTER has been sitting on its laurels.

66.   TWITTER has, and has had, a rampant fake account problem, which

      they chose to ignore.

67.   DOSHIER has filed this class action lawsuit, on behalf of himself and

      Class members to ask the court to hold TWITTER accountable for the

      direct damages TWITTER has caused them, as well as for the unjust

      enrichment of TWITTER at their expense.

68.   TWITTER's conduct, as alleged herein, violates Ark. Code Ann.

      Sections 4-88-107, 4-75-201, et seq., and 4-75-309, and constitutes

      breach of contract and common law fraud under Arkansas law.

                         JURISDICTION AND VENUE

69.   The Circuit Court of Faulkner County, Arkansas, has jurisdiction of this

      case because of the fact the Plaintiff and Class members are seeking

      damages against the Defendant in this civil proceeding thereby giving

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       this court jurisdiction under Ar. Const. Art. 7, Sec. 11 and Ark. Code

       Ann. Sec. 16-13-201.

70.    The venue for this action is in Faulkner County, Arkansas, pursuant to

       the provisions of Ark. Code Ann. Sec 16-60-113 and the fact that

       some or all of the misrepresentati ons occurred in Faulkner County,

       Arkansas, and, therefore, venue is proper. See Evans Industrial

       Coatings, Inc. v. Chancery Court of Union County, 315 Ark. 728, 870

       S.W.2d 701 (1994).

71 .   Plaintiffs assert no federal question and/or violations of federal law.

72.    Plaintiff and Class members seek monetary damages of all types,

       including but not limited to, compensatory and punitive damages, and

       attorneys' fees, as well as any other monetary damages the court

       deems appropriate as enumerated in the Prayer for relief, such as

       treble damages.

                                    PARTIES

73.    Plaintiff DOSHIER is a citizen and resident of Arkansas. DOSHIER has a

       TWITTER account. DOSHIER is an entrepreneur, educator, and small

       business owner. DOSHIER owns numerous digital properties. DOSHIER

       owns the top level domain ".buzz." DOSHIER advertises on TWITTER

       on behalf of dotStrategy, Co., to promote the top level domain

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      11
           .buzz,   11
                         as well as to promote various domain and digital properties

      affiliated with the top level domain              11
                                                             .buzz, that he owns. DOSHIER
                                                                      11




      receives bills from TWITTER for ads that he has placed on behalf of

      dotStrategy, Co., and the various domain and digital properties

      affiliated with the top level domain              11
                                                             .buzz,   11
                                                                           at his home business at

      1920 Centennial Club Dr., Conway, AR 72034.

74.   Plaintiff dotStrategy, Co., is an Arkansas for Profit Corporation. The

      business address of dotStrategy, Co., is 1920 Centennial Club Dr.,

      Conway, AR 72034.

75.   Defendant TWITTER is incorporated in Delaware, and the Company's

      principal executive offices are located at 1355 Market Street, Suite

      900, San Francisco, CA 94103. TWITTER's securities trade on the

      NYSE under the ticker symbol TWTR." TWITTER may be served with
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      process by serving its registered agent, Incorporating Services, Ltd.,

      3500 South Dupont Highway, Dover, DE 19901.

                                   FACTUAL BACKGROUND

76.   TWITTER operates a social networking website or community that

      allows people to communicate and/or connect with their family,

      friends, and other TWITTER users through the sharing of information,

      photographs, videos, and website links, as well as through the posting

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      of advertisements on TWITTER's social networking website or

      community.

77.   "Twitter said on Thursday that it had overstated its monthly-user

      figures since 2014 ... Twitter said its data-retention policies made it

      unable to reconcile the figures for periods before last year's [2016]

      fourth quarter." Bray, supra.

78.   TWITTER has a history of a lack of accountability.

79.   TWITTER should be estopped from being able to hide behind

      self-serving data retention policies in their defense of this matter.

80.   If TWITTER is unable to prove that the Engagements for which

      DOSHIER and Class members have been charged by TWITTER came

      from real people with real TWITTER accounts, DOSHIER requests the

      court to order TWITTER to reimburse DOSHIER and Class members for

      100% of the charges for those Engagements.

81.   If TWITTER is unable to prove that the Engagements, such as Ad

      Clicks and Follows, for which DOSHIER and Class members have been

      charged by TWITTER came from real people with real TWITTER

      accounts, DOSHIER requests the court to order TWITTER to reimburse

      DOSHIER and Class members for 100% of the charges for those Ad

      Clicks and Follows.

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82.   DOSHIER and Class members had a justifiable expectation that their

      TWITTER ads would generate real Impressions from real people with

      real TWITTER accounts.

83.   If TWITTER is unable to prove that the Impressions that TWITTER

      reported for the ads that DOSHIER and Class members have been

      charged by TWITTER came from real people with real TWITTER

      accounts, DOSHIER requests the court to order TWITTER to reimburse

      DOSHIER and Class members for all of the ad revenues that it received

      from DOSHIER and Class members for those ads, for the unjust

      enrichment of TWITTER as a result of TWITTER having created an

      artifcial market and fake demand for Promoted Tweets through fake

      Impressions.

84.   "The extent of account suspensions, which has not previously been

      reported, is one of several recent moves by Twitter to limit the

      influence of people it says are abusing its platform. The changes,

      which were the subject of internal debate, reflect a philosophical shift

      for Twitter. Its executives long resisted policing misbehavior more

      aggressively ... Del Harvey, Twitter's vice president for trust and

      safety ... added that Twitter only recently was able to dedicate the




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      resources and develop the technical capabilities to target malicious

      behavior in this way." Timberg and Dwoskin, supra.

85.   TWITTER has a market capitalization of over $33 Billion dollars.

86.   TWITTER is publicly traded on the NYSE under the symbol TWTR.

87.   TWITTER has had the resources to address its fake account problem,

      but chose not to do so, because it would have had a negative effect

      on its ad revenue and stock price.

88.   "Twitter's increased suspensions also throw into question its estimate

      that fewer than 5 percent of its active users are fake or involved in

      spam, and that fewer than 8.5 percent use automation tools that

      characterize the accounts as bots." Timberg and Dwoskin, supra.

89.   "Independent researchers and some investors long have criticized the

      company for not acting more aggressively to address what many

      considered a rampant problem with bots, trolls and other [FAKE]

      accounts used to amplify disinformation. Though some go dormant for

      years at a time, the most active of these accounts tweet hundreds of

      times a day with the help of automation software ... " Tim berg and

      Dwoskin, supra.

90.   "The decision to forcefully target suspicious accounts followed a

      pitched battle within Twitter last year over whether to implement new

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       detection tools. One previously undisclosed effort called "Operation

       Megaphone" involved quietly buying fake accounts and seeking to

       detect connections among them, said two people familiar with internal

       deliberations." Timberg and Dwoskin, supra.

91 .   "Some executives initially were reluctant to act aggressively against

       suspected fake accounts ... In November, one frustrated engineer

       sought to illustrate the severity of the problem by buying thousands of

       fake followers for a Twitter manager, said two people familiar with the

       episode. Bots can be readily purchased on a gray market of websites."

       Timberg and Dwoskin, supra.

92.    "These fake [TWITTER] accounts borrowed social identities from

       Twitter users in every American state and dozens of countries, from

       adults and minors alike, from highly active users and those who hadn't

       logged in to their accounts for months or years." Confessore, supra.

93.    "Twitter had said in several public statements this year that it was

       targeting suspicious accounts, including in a recent blog post that

       nearly 10 million accounts a week were being "challenged" - a step

       that attempts to ascertain the authenticity of an account's ownership

       and requires users to respond to a prompt such as verifying a phone or

       email address." Timberg and Dwoskin, supra.

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94.   The abovementioned process whereby accounts are being "challenged"

      by TWITTER to ascertain the authenticity of the accounts is something

      that TWITTER could have been doing a long time ago, but they chose

      not to, as it would have impacted its advertising revenue.

95.   There is no accountability at TWITTER to Self-serve Advertisers, such

      as DOSHIER and Class members.

96.   "In May, Twitter announced major changes to the algorithms it uses to

      police bad behavior." Tim berg and Dwoskin, supra.

97.   TWITTER could have made changes to its algorithms a long time ago,

      but chose not to, as it would have impacted its advertising revenue.

98.   "[R]esearchers have for years complained that the problem is far more

      serious and that Twitter's definition of a fake account is too narrow,

      allowing them to keep counts low. Several independent projects also

      have followed particular bots and fake [TWITTER] accounts over many

      years, and even after the recent crackdown, researchers point to

      accounts with obviously suspicious behaviors, such as gaining

      thousands of followers in just a few days or tweeting around the

      clock. 'When you have an account tweeting over a thousand times a

      day, there's no question that it's a bot,' said Samuel C. Woolley,

      research director of the Digital Intelligence Lab at the Institute for the

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      Future, a Palo Alto, Calif .-based think tank." Tim berg and Dwoskin,

      supra.

99.   TWITTER has willfully underestimated its fake account problem.

100. TWITTER has not fully addressed its fake account problem.

101. By allowing fake accounts to generate fake traffic, TWITTER

      overestimates or inflates the actual amount of traffic on its social

      network, thereby enticing Self-Serve Advertisers to place ads, or

      Promote Tweets, on the TWITTER platform.

102. "Sometimes the company suspends the accounts. But Twitter also

      limits the reach of certain tweets by placing them lower in the stream

      of messages, sometimes referred to as 'shadow banning,' because the

      user may not know they are being demoted. Harvey said the effort

      built on the technical expertise of an artificial intelligence start-up

      called Magic Pony that the company acquired in 2016. The acquisition

      'laid the groundwork that allowed us to get more aggressive,' Harvey

      said. 'Before that, we had this blunt hammer of your account is

      suspended, or it wasn't."' Timberg and Dwoskin, supra.

103. While "shadow banning" fake TWITTER accounts is an effective tool

      for censorship, the "shadow banning" of fake TWITTER accounts

      continues to allow TWITTER to report inflated traffic on its social

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     network, as the shadow banned accounts continue to create TWITTER

     traffic.

104. By inflating the traffic on its network, TWITTER is able to directly

     charge more for advertising on the TWITTER platform.

105. Inflated fake TWITTER activity from fake TWITTER accounts results in

     inflated billings to Self-Serve Advertisers, such as DOSHIER and Class

     members.

106. Over the time frame of October 2013 through December 2016,

     DOSHIER placed 34 ads in two Twitter accounts and was billed

      $2,220.76; 11 ads ran in a Twitter account handle @buzznames, 23

      ads ran in a Twitter account handle @dotstrategy. All ads were placed

     for the promotion of the .buzz domain name registry.

107. DOSHIER placed 34 ads on TWITTER from October 2013 to December

      2016.

108. Of the 34 ads that DOSHIER placed on TWITTER there is no data

      available from TWITTER for 29 of those ads.

109. TWITTER has provided data on only 5 of DOSHIER's ads, and that

      data is minimal at best.

110. None of the Handles are available for any of the TWITTER accounts

      which generated the Engagements for which DOSHIER was charged.

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111 . TWITTER should be estopped from being able to hide behind

       self-serving data retention policies in their defense of this matter.

112. Billing from TWITTER is based on a stated activity goal, such as

       creating new Follows, or generating Ad Clicks from TWITTER accounts

       in response to the ads, or Promoted Tweets, placed by Self-Serve

       Advertisers, such as DOSHIER and Class members.

113. A TWITTER ad placed by the @dotstrategy account on December 3,

       2016, for the stated goal of generating "website clicks or conversions"

       (Ad Clicks), generated 166,207 Impressions and 131 Ad Clicks with a

       total cost of $475.35 or approximately $3.63 per Click.

114. Of the 131 Clicks that DOSHIER was billed for by TWITTER for the ad

       placed by the @dotstrategy account on December 3, 2016, DOSHIER

       suspects that a significant number of the Clicks were genertated

       through fake TWITTER accounts.

115.   Of the 166,207 Impressions of the TWITTER ad placed by the

       @dotstrategy account on December 3, 2016, DOSHIER suspects that

       a significant number of the Impressions were genertated through fake

       TWITTER accounts.

116. Without transparency and accountability from TWITTER, the 166,207

       Impressions and 131 Ad Clicks for the ad placed by the @dotstrategy

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     account on December 3, 2016 are nothing more than worthless

     analytics, which DOSHIER purchased directly from TWITTER for a total

     cost of $4 75.35.

117. Without transparency and accountability, Ad Clicks and Follows, which

     TWITTER sells to Self-Serve Advertisers, such as DOSHIER and Class

     members, are nothing more than worthless analytics.

118. Without transparency and accountability, Impressions, which TWITTER

     markets to Self-Serve Advertisers as evidence of a substantial market

     or audience for Promoted Tweets, are nothing more than worthless

     analytics.

119. "The data obtained by The Post shows a steady flow of suspensions

     and spikes on particular days, such as Dec. 7, when 1 .2 million

     accounts were suspended, nearly 50 percent higher than the average

     for that month. There was also a pronounced increase in mid-May,

     when Twitter suspended more than 1 3 million in a single week - 60

     percent more than the pace in the rest of that month." Timberg and

     Dwoskin, supra

120. TWITTER has a fake account problem.

121. TWITTER should be held accountable for charging DOSHIER and Class

     members for fake Engagements, such as fake Ad Clicks and fake

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     Follows, which are Ad Clicks and Follows that have been generated

     through fake TWITTER accounts.

122. TWITTER should be held accountable for marketing fake Impressions

     to Self-Serve Advertisers, in order to entice them to place ads, or

     Promoted Tweets on the Twitter platform.

123. TWITTER 's Terms of Service can be found at the following link:

     https://twitter.com/en/to

124. TWITTER's Terms of Service has the following Limitation of Liability:

     TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, THE
     TWITTER ENTITIES SHALL NOT BE LIABLE FOR ANY INDIRECT,
     INCIDENTAL, SPECIAL, CONSEQUENTIAL OR PUNITIVE DAMAGES,
     OR ANY LOSS OF PROFITS OR REVENUES, WHETHER INCURRED
     DIRECTLY OR INDIRECTLY, OR ANY LOSS OF DATA, USE,
     GOODWILL, OR OTHER INTANGIBLE LOSSES, RESULTING FROM (i)
     YOUR ACCESS TO OR USE OF OR INABILITY TO ACCESS OR USE
     THE SERVICES; (ii) ANY CONDUCT OR CONTENT OF ANY THIRD
     PARTY ON THE SERVICES, INCLUDING WITHOUT LIMITATION, ANY
     DEFAMATORY, OFFENSIVE OR ILLEGAL CONDUCT OF OTHER USERS
     OR THIRD PARTIES; (iii) ANY CONTENT OBTAINED FROM THE
     SERVICES; OR (iv) UNAUTHORIZED ACCESS, USE OR ALTERATION
     OF YOUR TRANSMISSIONS OR CONTENT. IN NO EVENT SHALL THE
     AGGREGATE LIABILITY OF THE TWITTER ENTITIES EXCEED THE
     GREATER OF ONE HUNDRED U.S. DOLLARS (U.S. $100.00) OR THE
     AMOUNT YOU PAID TWITTER, IF ANY, IN THE PAST SIX MONTHS
     FOR THE SERVICES GIVING RISE TO THE CLAIM. THE LIMITATIONS
     OF THIS SUBSECTION SHALL APPLY TO ANY THEORY OF LIABILITY,
     WHETHER BASED ON WARRANTY, CONTRACT, STATUTE, TORT
     (INCLUDING NEGLIGENCE) OR OTHERWISE, AND WHETHER OR NOT
     THE TWITTER ENTITIES HAVE BEEN INFORMED OF THE POSSIBILITY
     OF ANY SUCH DAMAGE, AND EVEN IF A REMEDY SET FORTH
     HEREIN IS FOUND TO HAVE FAILED OF ITS ESSENTIAL PURPOSE.

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125. Although the abovementioned Limitation of Liability seems exhaustive

      and comprehensive, it fails to limit liability for direct damages caused

      by TWITTER.

126. The abovementioned Limitation of Liability simply does not apply to

      direct damages.

1 27. Please note, the abovementioned Limitation of Liability limits liability

      for "ANY LOSS OF PROFITS OR REVENUES, WHETHER INCURRED

      DIRECTLy OR INDIRECTLy. II

128. The phrase, "WHETHER INCURRED DIRECTLY OR INDIRECTLY"

      unequivocally qualifies the preceding phrase, "ANY LOSS OF PROFITS

      OR REVENUES.      II




129. DOSHIER and Class members are not claiming that they have lost any

      profits or revenues.

130. DOSHIER and Class members have suffered direct damages due to the

      fraud and misrepresentations of TWITTER.

131. DOSHIER and Class members have suffered direct damages by being

      charged for fake ad clicks, and fake Follows by TWITTER.

132. DOSHIER and Class members have suffered direct damages by being

      charged inflated prices by TWITTER for their ads due to the fact that

      TWITTER allowed an artificial market, or fake demand for ads, or

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     Promoted Tweets, to be created and then perpetuated on the

     TWITTER platform through fake Impressions from fake Twitter

     accounts.

133. TWITTER's Terms of Service states, "You may use the Services only if

     you agree to form a binding contract with Twitter ... "

134. DOSHIER and Class members acknowledge they used TWITTER's

     Services.

135. TWITTER's Terms of Service states, "If you use advertising features of

     the Services, you must agree to our Twitter Master Services

     Agreement (https://ads.twitter.com/terms)."

136. DOSHIER and Class members acknowledge they entered into a binding

     agreement with TWITTER. However, the terms of the binding

     agreement, such as the binding term that Self-Serve Advertisers are

     not obligated to pay for fake Engagements, and "Only pay when

     [REAL] users follow your account or retweet, like, reply, or click on

     your Promoted Tweet," is not defined anywhere in the Twitter Master

     Services Agreement. The terms of the binding agreement can only be

     found in the representations of TWITTER on its website. The terms of

     the agreement are questions of fact for the trier of fact.




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137. The Twitter Master Services Agreement simply states, "The [Twitter

     Master Services] Agreement constitutes the entire agreement and

     understanding between you and us regarding the subject matter

     contained herein and supersedes all proposals, representations, claims,

     and communications in all forms of media (including all instructions,

     advertisements, messages, and policies), written and oral, regarding

     the subject matter contained herein ... "

138. The Twitter Master Services Agreement is an attempt by TWITTER to

     limit its liability.

139. The Twitter Master Services Agreement has the following limitation of

     Liability clause:

     LIMITATION OF LIABILITY. EXCEPT FOR (i) CONFIDENTIALITY
     OBLIGATIONS SET FORTH IN SECTION 6 ABOVE, (ii) YOUR
     INDEMNIFICATION OBLIGATIONS SET FORTH IN SECTION 8 ABOVE,
     AND (iii) AMOUNTS DUE AND PAYABLE BY YOU HEREUNDER, TO
     THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW, ANY
     LIABILITY OF THE TWITTER ENTITIES AND YOU IN CONNECTION
     WITH THE AGREEMENT, UNDER ANY CAUSE OF ACTION OR
     THEORY, WHETHER IN CONTRACT OR TORT, INCLUDING
     NEGLIGENCE OR OTHERWISE, WILL BE STRICTLY LIMITED TO THE
     LESSER OF THE AMOUNT ALREADY PAID BY YOU TO US PURSUANT
     TO THE AGREEMENT IN THE SIX-MONTH PERIOD PRIOR TO THE
     EVENT GIVING RISE TO THE CLAIM OR U.S. $250,000 (OR ITS
     EQUIVALENT IN THE APPLICABLE CURRENCY). IN NO EVENT WILL
     THE TWITTER ENTITIES OR YOU BE LIABLE FOR COSTS OF
     PROCUREMENT OF SUBSTITUTE PRODUCTS OR SERVICES, LOST
     PROFITS, OR FOR ANY INDIRECT, SPECIAL, INCIDENTAL,
     CONSEQUENTIAL, PUNITIVE, OR EXEMPLARY DAMAGES ARISING

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     OUT OF, OR IN CONNECTION WITH, THE AGREEMENT. YOU WILL
     NOT HOLD A TWITTER COMPANY RESPONSIBLE FOR THE
     SELECTION OR RETENTION OF, OR ANY ACTS, ERRORS, OR
     OMISSIONS BY, ANY THIRD PARTY IN CONNECTION WITH THE
     AGREEMENT, INCLUDING WITH RESPECT TO ACTIONS BY ANY
     THIRD PARTY RELATING TO OR IN CONNECTION WITH YOUR ADS,
     REGARDLESS OF THE INTENT OF SUCH THIRD PARTY.

140. There are multiple events that give rise to the claims in this matter, as

     there are multiple Class members, each with at least one or more ads.

     The events giving rise to TWITTER's liability in this matter are the

     same across the Class. Each and every Engagement for which

      DOSHIER and Class members have been charged by TWITTER is its

     own stand alone event giving rise to the claims in this matter.

141. Hence, each ad, or Promoted Tweet, in which DOSHIER and Class

      members were charged by TWITTER for fake engagements, will also

      be its own stand alone event giving rise to the claim for that specific

      ad, as TWITTER invoiced DOSHIER and Class members for the total

      cost of each specific ad.

142. Hence, there are significant measurable damages in this matter.

1 43. TWITTER represents on its "Advertise on Twitter" page that

      advertising on TWITTER will provide "Solutions to help you achieve

      your business goals."




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144. TWITTER represents on its "Advertise on Twitter" page that

     advertising on TWITTER will help you "Reach potential customers" and

     "Get your messages in front of people [REAL IMPRESSIONS from REAL

     PEOPLE] not yet following you by promoting your Tweets.

145. TWITTER represents on its "Advertise on Twitter" page that

     advertising on TWITTER will help you "Gain more followers" and

     "Quickly grow your community of high value [REAL] followers and

     drive word of mouth by promoting your account."

146. TWITTER represents on its "Advertise on Twitter" page that

     advertising on TWITTER will help you "Measure results in real time"

     and "Track the growth of your [REAL] follower base and see how

     people engage [REAL [ENGAGEMENTS from REAL PEOPLE] with every

     single Tweet"

14 7. TWITTER represents on its "Advertise on Twitter" page that

     advertising on TWITTER will allow you to "Choose your target

     audience" and "Reach the right audience by targeting based on

     interests, geography, gender, device, or users similar to your [REAL]

     followers. In addition, maximize the relevancy of your message by

     targeting by keywords in [REAL] people's Tweets."




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148. TWITTER represents on its "Advertise on Twitter" page that

     advertising on TWITTER will allow you to "Amplify your message and

     get discovered" and "Get your Tweets and your account in front of

     more people [REAL IMPRESSIONS from REAL PEOPLE] who are

     interested in you."

149. For the reasons stated above, DOSHIER and Class members advertised

     on TWITTER.

150. TWITTER represents on its "Advertise on Twitter" page that

     advertising on TWITTER will allow you to "Set a budget and pay for

     what works" and "Only pay when [REAL] users follow your account or

     retweet, like, reply, or click on your Promoted Tweet [REAL

     ENGAGEMENTS]. You're in complete control. There's no minimum

     spend, and you can start and stop at any time."

1 51. TWITTER defines an Engagement for a Promoted Tweet as follows:

     "The number of clicks, retweets, likes, follows and replies on a

     Promoted Tweet."

152. Advertisers are not obligated to pay for fake Engagements.

153. DOSHIER and Class members have been charged for fake

     Engagements by TWITTER.




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154. TWITTER acknowledges in their "About fake engagements" page that

     fake Engagements, such as fake Follows, do indeed exist on the

     TWITTER platform.

155. TWITTER's "About fake engagements on Twitter" page can be found

     at the following:

     https ://help. twitter. com/en/safety-and-sec urity /fake-twitter-followers- a

     nd-interactions

156. TWITTER's "About fake engagements on Twitter" page states the

     following:

     About fake engagements on Twitter

     Can I purchase or sell account interactions (i.e. Twitter followers,
     Retweets or likes) on Twitter?

     No. Twitter strictly prohibits the purchasing and selling of account
     interactions on our platform. When you purchase followers, Retweets
     and likes, you are often purchasing bot (fake) or hacked accounts. Any
     account caught participating in this behavior will be in violation of the
     Twitter Rules and may be suspended.

     •      If your account is found to have purchased followers, Retweets
     and likes, your account may be suspended.
     •      If your account is promoting the selling of followers, Retweets
     and likes, your account may be suspended.
     •      If your account is set up with the sole purpose of selling
     followers, Retweets and likes, your account may be suspended.

157. TWITTER defines a Promoted Tweet as follows: "Promoted Tweets are

     ordinary Tweets purchased by advertisers who want to reach a wider

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     group of users or to spark engagement from their existing followers.

     All Promoted Tweets are clearly labeled as Promoted when an

     advertiser is paying for their placement on Twitter. In every other

     respect, Promoted Tweets act just like regular Tweets and can be
                                                                '

     retweeted, replied to, liked, and more."

158. TWITTER defines Clicks for Promoted Tweets as follows: "The number

     of clicks on the Promoted Tweet. Includes clicks on the URL [get.buzz]

     (shortened or regular links), profile pie, screen name, username, detail,

     hashtags and faves."

159. TWITTER defines the verb Retweet as follows: "The act of forwarding

     another user's Tweet to all of your followers."

160. TWITTER defines Replies as follows: "A Tweet in response to another

     user's message, usually posted by clicking the reply button next to

     their Tweet in your timeline. A reply always begins with @username."

161. TWITTER does not provide a definition of a "Like." But a "Like" on

     Twitter is a tool by which TWITTER users are allowed to show their

     support for specific Tweets without having to make a written

     comment; (i.e. Twitter users click on the "Like Heart.")




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162. TWITTER defines Follow as follows: "To follow someone on Twitter

     means to subscribe to their Tweets or updates on the site. Find out

     more about following."

163. TWITTER's "Twitter Ads Glossary" can be found through the "Twitter

     Ads Help Center" or simply at the following link:

     https://business.twitter.com/en/help/overview/twitter-ads-glossary.htm




164. Advertisers are only required to pay for Engagements.

165. Yet, when advertisers are presented with the Tweet activity regarding

     a specific Tweet, Twitter provides them with a "Promote your Tweet"

     marketing ad from TWITTER for that specific Tweet, which not only

     includes potential Engagements, but also potential Impressions.

166. The "Promote your Tweet" ad states, "Get more impressions on this

     Tweet!".

167. The Tweet Activity for a specific Tweet that DOSHIER had tweeted in

     his @dotstrategy account; "Thanks for the mug @wcfay. A busy day

     comes to an end #wcfay pic.twitter.com0IBmmjPKF7 [Picture of

     mug]," revealed that he had received 449 Impressions, and 19

     Engagements in response to this Tweet.




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168. The "Promote your Tweet" ad from TWITTER to DOSHIER tor the

     abovementioned Tweet states the following:

     Promote your Tweet
     Get more Impressions on this Tweet!
     449 Total Impressions - 19 Total Engagements

     Targeting
     Select the location you would like to target with this Tweet
     Location United States

     Budget
     Select how much you would like to spend.
     $500

     Your estimated Reach: 180K Impressions - 558 Engagements

169. TWITTER unequivocally markets Impressions to Self-Serve Advertisers

     like DOSHIER and Class members. In the abovementioned marketing

     proposal by TWITTER to DOSHIER for him to "Promote your Tweet."

     TWITTER represented that the Promoted Tweet would result in

     180,000 real Impressions.

170. To Self-Serve Advertisers like DOSHIER and Class members,

     Impressions on the TWITTER platform can be just as important as

     Engagements, as advertisers want exposure of their products.

     TWITTER understands this, which is why they market Impressions of

     Promoted Tweets.




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171. Impressions are unequivocally an important metric used by TWITTER

     to sell ads to advertisers, such as DOSHIER and Class members.

172. TWITTER defines an Impression for a Promoted Tweet as follows:

     "The number of users who see a Promoted Tweet either in their Home

     timeline or search results."

173. The number of real TWITTER users who will potentially see a Promoted

     Tweet, real Impressions, is important to a Self-Serve Advertiser, such

     as Doshier and Class members.

174. The number of fake TWITTER users who will potentially see a

     Promoted Tweet, fake Impressions, is not important to a Self-Serve

     Advertiser, such as Doshier and Class members.

175. TWITTER defines Click thru Rate (CTR) as "Total engagements on an

     ad divided by Impressions."

176. TWITTER defines Follow Rate as follows: "The number of users who

     start following your Promoted Account compared to the number of

     Impressions."

1 77. An article published by Business Insider states the following:

     Twitter announced on Wednesday that this week it would no longer
     include "locked" accounts in users' follower numbers in an attempt to
     restore faith in those counts.




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      In a blog post, Twitter said that most people would see a drop of
      about four followers but that those with larger follower numbers could
      "experience a more significant drop."

      A spokesman told Business Insider the changes would affect tens of
      millions of accounts, representing about 6% of all follows.
      For celebrity Twitter users with huge followings, like Katy Perry ( 110
      million followers) ... and Donald Trump (53 million), this could mean a
      sizeable culling of their follower counts.
      Twitter says it locks an account if it detects sudden changes in
      behaviour, such as tweeting lots of unsolicited replies or mentions,
      posting misleading links, or being blocked by numerous accounts after
      mentioning them.

      Once an account is locked, it cannot tweet, like, or retweet, and it
      does not see ads. This isn't the same as deletion, and Twitter often
      will unlock an account after a set period or once it has verified the
      account owner.

      Twitter said locked accounts tend to have been created by real people,
      rather than bots. The company added that the crackdown would not
      affect its monthly-active-user counts.

      The company has also been trying to hone in on suspicious accounts
      over the past two months. Its share price dropped more than 8% on
      Monday, as investors fear the purge could hurt Twitter's growth
      metrics.

Isobel Asher Hamilton, The Business Insider (July 12, 2018), Celebrities are

probably about to see a big dip in their Twitter followers - here's why,

https://www.businessinsider.in/celebrities-are-probably-about-to-see-a-big-dip

-in-their-twitter-followers-heres-why/articleshow/64960679.cms.




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178. "Twitter said that most people would see a drop of about four

     followers but that those with larger follower numbers could

      "experience a more significant drop." Hamilton, supra.

179. According to Social Blade, Katy Perry ( 110 million followers) lost

     2,816,619 Twitter Followers on July 13, 2018.

180. As of July 20, 2018 (28 Day Summary), DOSHIER lost 480 Followers

     in his @buzznnames TWITTER account (now 2337 Followers).

181. A TWITTER ad placed by DOSHIER in the @buzznames account on

     October 1, 2015 generated 6,226 impressions and 14 Follows with a

     total cost of $51.05 or approximately $3.65 per Follow. Another way

     of looking at this is that the ad cost DOSHIER approximately $.0082

     per Impression.

182. Of the 14 Follows that DOSHIER was directly billed for by TWITTER

     for the ad he placed for the @buzznames account on October 1, 2015,

     DOSHIER suspects that a significant number of the Follows were

     generated through from fake TWITTER accounts.

183. Of the 6,226 impressions that were generated from the TWITTER ad

     placed by DOSHIER for the @buzznames account on October 1, 2015,

      DOSHIER suspects that a significant number of the impressions were

     generated through fake TWITTER accounts.

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184. DOSHIER suspects that the 480 Followers that he lost as of July 20,

     2018 (28 Day Summary), are a result of the recent suspension of fake

     accounts by TWITTER, including but not limited to the recent change

     by TWITTER that it would "no longer include 'locked' accounts in

     users' follower numbers in an attempt to restore faith in those

     counts."

185. DOSHIER suspects that of the 480 Followers that he lost as of July

     20, 2018 (28 Day Summary), a significant number of them were fake

     TWITTER accounts.

186. DOSHIER also suspects that of the 2,816,619 Followers that Katy

     Perry lost on July 13, 2018, a significant number of them were also

     fake TWITTER accounts.

187. According to a Tweet posted on July 11, 2018, by Vijaya Gadde

     (@vijaya), Legal Counsel for TWITTER, and the Legal, Policy and Trust

     & Safety Lead @Twitter, "You should be confident that the follower

     numbers presented across Twitter are meaningful and accurate. We're

     introducing a change to follower counts as part of our work to make

     Twitter a more trusted service for public conversation."

188. DOSHIER and Class members are not confident in TWITTER's Follow

     numbers, ad clicks numbers, or Impressions numbers.

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189. DOSHIER and Class members are not confident in the transparency or

     accountability of TWITTER.

190. "Twitter is sweeping out fake accounts like never before, putting user

     growth at risk." dated July 6, 2018, states, "Twitter suspended more

     than 70 million accounts in May and June, and the pace has continued

     in July ... " Timberg and Dwoskin, supra.

191. "Twitter suspended at least 58 million accounts in the last quarter of

     2017 according to numbers reviewed by the Associated Press. The

     new figure comes after the company confirmed that it separately

     booted another 70 million fake accounts from its platform between

     May and June." Breland, supra.

192. The "About Suspended Accounts" page can be found at the following

     link: https://help.twitter.com/en/managing-your-account/

     suspended-twitter- accounts.

193. The "About Suspended Accounts" page states, "Most of the accounts

     we suspend are suspended because they are spammy, or just plain

     fake ... These types of accounts are against our Twitter Rules.

     Unfortunately, sometimes a real person's account gets suspended by

      mistake, and in those cases we'll work with the person to make sure

     the account is unsuspended."

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194. For the purposes of this lawsuit, as defined by TWITTER, a fake

     account is defined as one that is "just plain fake."

195. Please note, TWITTER's statement, "sometimes a real person's

      account gets suspended by mistake" unequivocally implies that real

      accounts represent real persons. The corollary of this is that fake

      accounts represent fake persons. Hence, any account that doesn't

      represent a real person is a fake account by TWITTER's own definition.

1 96. Due to a lack of transparency, accountability, and history of self

     serving policies that it hides behind, such as the self serving data

      retention policies which "made it unable to reconcile the

      [Monthly-User] figures for periods before last year's [2016] fourth

      quarter" (see Bray, supra), DOSHIER requests that the court place the

      burden on TWITTER to prove that the Engagements that DOSHIER and

      Class members have been charged for by TWITTER were indeed

      generated by real TWITTER accounts and not by fake TWITTER

      accounts.

197. DOSHIER and Class members relied upon TWITTER's representations

      that their ads, or Promoted Tweets, would be marketed to real people

      with real TWITTER accounts, not fake people with fake Twitter

      accounts.

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198. DOSHIER and Class members relied upon TWITTER's representations

     that their ads, or Promoted Tweets, would "Reach [REAL] potential

     customers" through real Impressions, not fake Impressions.

199. DOSHIER and Class members relied upon TWITTER's representations

     that their ads, or Promoted Tweets, would "Gain more [REAL]

     followers" through real Impressions, exposure to real people with real

     Twitter accounts, not fake Impressions, exposure to fake people with

     fake Twitter accounts.

200. TWITTER defines Impressions as "The number of users who see a

     Promoted Tweet either in their Home timeline or search results."

201. Simply put, an Impression is an exposure of an ad, or Promoted Tweet,

     to a real TWITTER user, a real person.

202. TWITTER unequivocally represents that Promoted Tweets are

     marketed to real people, or real TWITTER users with real TWITTER

     accounts, i.e. real Impressions, not fake people, or fake TWITTER

     users with fake TWITTER accounts, i.e. fake Impressions.

203. TWITTER defines Serving/Serve as follows: "When you launch a

     Twitter ads campaign, your ads will appear to users on their home

     timeline as 'impressions'. A campaign that is gaining impressions is

     'serving' or gaining serve."

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204. Hence, real Impressions are fundamental to an advertising campaign.

205. TWITTER has consistently advertised on it website that ads placed on

     the TWITTER platform would be promoted to real people with real

     Twitter accounts.

206. TWITTER's "Business Solutions" page can be found at the following

     link: https ://business. twitter .com/en/solutions. html

207. TWITTER represents on its "Business Solutions" page that you can

     "Build your influence, discover new audiences, and strengthen your

     brand with customized solutions."

208. TWITTER represents on its "Business Solutions" page that it offers

     "Customized Twitter Ads solutions" that will "help you reach your

     goals." According to TWITTER, "[w]hether you're launching a product,

     promoting your brand story, or jumping into discussions about what

     matters most, Twitter Ads help you reach your goals."

209. TWITTER represents on its "Business Solutions" page that through

     "Twitter Ads campaigns" you can place "Twitter ads [that] let you

     build a tailored campaign around your goals, audiences, and budget.

     With no minimum spend and flexible management options, we give

     you the power to promote Tweets, drive [GENUINE] traffic to your

     website, and attract new [GENUINE] account followers."

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210. TWITTER represents on its "Business Solutions" page that the "Twitter

     Promote Mode" will "automatically promote Tweets and your account -

     attracting a larger [GENUINE] audience" for those times "When you

     don't have the time to manage Twitter Ads but need an always-on

     promotion solution, look to Twitter Promote Mode. This $99 monthly

     subscription automatically promotes Tweets and your account -

     attracting a larger [GENUINE] audience each month."

211. TWITTER's "Business" page an be found at the following link:

     https://business.twitter.com/

212. TWITTER represents on its "Business" page that "Twitter is where

     people come to discover what's happening."

213. TWITTER represents on its "Business" page that "Whether you're a

     CEO strengthening your personal brand, a retailer promoting new

     products, a mobile app company hoping to get downloads, or just a

     hustler who wants more followers and likes - Twitter's unique

     discovery mindset allows businesses and brands to connect with a

     relevant, engaged audience."

214. TWITTER's "Twitter Ads" page can be found at the following:

     https ://business. twitter. com/en/solutions/twitter-ads. html




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215. TWITTER represents on its "Twitter Ads" page that you can "Expand

     your influence." TWITTER further represents "With Twitter Ads, you

     can get more likes, amplify your message, and get more people talking

     about the things that matter to you most - your cause, project,

     business, or brand."

216. TWITTER represents on its "Twitter Ads" page that you can "Connect

     with new audiences." TWITTER further represents "People on Twitter

     are looking for what's new - for great content and stories from the

     people, businesses, and brands they're interested in. Help them

     discover you. "TWITTER unequivocally represents that ads placed on

     Twitter, or Promoted Tweets, are marketed to real people.

217. DOSHIER and Class members have relied upon TWITTER's

     representations that their ads, or Promoted Tweets, would result in

     real Impressions, real ad clicks, and real Follows, not fake Impressions,

     fake ad clicks, or fake Follows.

21 8. TWITTER generates revenue by selling advertising on its social

     network to Self-Serve Advertisers.

219. TWITTER's Self-Serve Advertisers seek to market their products or

     digital properties to real people through TWITTER by generating real

     Follows, real Retweets, real Likes, real Replies, and real Ad Clicks on

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     their ads, or Promoted Tweets, from genuine TWTTER accounts from

     real people, not from fake people with fake TWITTER accounts on

     TWITTER's social network.

220. The cost of TWITTER ads generally cost a few dollars per Ad Click, or

     several dollars per Follow.

221. A TWITTER ad placed by DOSHIER in the @buzznames account on

     October 1, 2015, resulted in 6226 Impressions and resulted in 14

     Follows. The ad cost $51 .05 or approximately 3.65 per Follow.

     Another way of looking at this is that the ad cost approximately

     $0.0082 per Impression.

222. The complete ad data for the abovementioned ad, or Promoted Tweet,

     that DOSHIER placed on October 1, 2015 does not appear to be

     available from TWITTER. Specifically, the Handles of the Follows are

     not available for the 14 Follows. Without the Handles to the 14

     Follows, DOSHIER has no way to review these particular Follows to

     determine whether they are real Follows, or fake Follows.

223. A TWITTER ad placed by DOSHIER in the @dotstrategy account on

     December 3, 2016 generated 166,207 Impressions and 131 Clicks

     with a total cost of $475.35 or approximately $3.63 per Click.




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     Another way of looking at this is that the ad cost approximately

     $.0025 per Impression.

224. The complete data for the abovementioned ad, or Promoted Tweet,

     that DOSHIER placed in the @dotstrategy account on December 3,

     2016 does not appear to be available from TWITTER. Specifically, the

     Handles of the TWITTER accounts that generated the 131 Ad Clicks

     are not available. Without the Handles of the TWITTER accounts which

     generated the 131 ad clicks, DOSHIER has no way to review these

     particular accounts to determine whether they are real Twitter

     accounts, or fake Twitter accounts.

225. As a matter of fact, none of the data for 29 of the 34 ads that

     DOSHIER placed on TWITTER from October 2013 through December

     2016 is available. This is in keeping with TWITTER's self-serving

     retention policies. DOSHIER suspects TWITTER has deleted the data to

     prevent the truth from being discovered that TWITTER has charged

     Self-Serve advertisers, such as DOSHIER and Class members for fake

     Impressions, fake ad clicks, and fake Follows, i.e. fake Engagements.

226. To reiterate, none of the Handles data for any of the 34 ads that

     DOSHIER placed on TWITTER from October 2013 through December

     2016 is available. Without the Handle data, it is impossible to know

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     whether and to what TWITTER charged DOSHIER for fake Follows and

     fake Ad Clicks.

227. Since TWITTER is responsible for its lack of accountability and

     transparency, as well as its self-serving data retention policies,

     DOSHIER asks the court to place the burden on TWITTER to prove

     whether the Engagements for which DOSHIER and Class members

     have been charged for are fake or not.

228. If TWITTER is unable to prove whether the Engagements for every ad

     for which DOSHIER and Class members have been charged for by

     TWITTER are real, DOSHIER requests that the court order TWITTEER

     to reimburse DOSHIER and Class members for every ad.

229. Each and every Engagement for which DOSHIER and Class members

     have been charged by TWITTER is its own stand alone event giving

     rise to the claims in this matter.

230. If the ad data is no longer available to review, DOSHIER requests the

     court to order TWITTER to reimburse DOSHIER and Class members for

     the total amount that they have paid TWITTER for all their ads.

231. Due to TWITTER's lack of accountability and transparency, and

     rampant fake account problem, which TWITTER has known about, as

     well as its self-serving data retention policies, DOSHIER asks the court

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     to assume that every Engagement that DOSHIER and Class members

     have been charged for by TWITTER is fake until proven otherwise by

     TWITTER.

232. More Follows, Retweets, Likes, Replies, and Clicks on Promoted

     Tweets, from TWTTER accounts, whether genuine or fake, on

     TWITTER's social network, generates more traffic for the advertisers,

     which results in bigger bills for the advertisers, and thus greater

     revenue for TWITTER.

233. More TWTTER accounts, whether genuine or fake, on TWITTER's

     social network, generates more Impressions for ads, or Promoted

     Tweets, which results in the perception of a larger market or audience

     for, or a greater demand for, ads or Promoted Tweets placed on the

     TWITTER platform, resulting in TWITTER being able to charge more for

     the pricing for ads, or Promoted Tweets, placed on the TWITTER

     platform, which results in bigger bills for the advertisers, and thus

     greater revenue for TWITTER.

234. TWITTER's Self-Serve Advertisers are interested in increasing genuine

     traffic from genuine people with genuine TWITTER accounts.

235. TWITTER's Self-Serve Advertisers are interested in increasing genuine

     Follows, Retweets, Likes, Replies, and Ad Clicks on Promoted Tweets,

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     from genuine people with genuine TWTTER accounts, not fake people

     with fake TWITTER accounts.

236. TWITTER's Self-Serve Advertisers are not obligated to pay for fake

     Engagements from fake TWITTER accounts.

237. TWITTER's Self-Serve Advertisers are not obligated to pay for fake

     Follows from fake TWITTER accounts.

238. TWITTER's Self-Serve Advertisers are not obligated to pay for fake Ad

     Clicks from fake TWITTER accounts.

239. TWITTER has charged DOSHIER and Class members for fake

      Engagements from fake TWITTER accounts

240. TWITTER has charged DOSHIER and Class members for fake Follows

      from fake TWITTER accounts

241. TWITTER has charged DOSHIER and Class members for Ad Clicks

      generated through fake TWITTER accounts.

242. TWITTER has charged DOSHIER and Class members for fake Ad

      Clicks.

243. TWITTER has artificially inflated the pricing of its advertising due to

      fake Impressions from fake TWITTER accounts.

244. TWITTER's Self-Serve Advertisers are interested in increasing their

      product's exposure through genuine Impressions from genuine

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     TWITTER accounts, not through fake Impressions from fake TWITTER

     accounts.

245. DOSHIER and Self-Serve advertisers have relied upon TWITTER's

     representations that their ads or Promoted Tweets would result in

     genuine exposure to genuine people with genuine TWITTER accounts

     through genuine Impressions, not through fake Impressions form fake

     TWITTER accounts.

246. DOSHIER and Self-Serve advertisers have, and have had a reasonable

     expectation that their ads or Promoted Tweets would result in genuine

     exposure to genuine people with genuine Twitter accounts through

     genuine Impressions, not through fake Impressions form fake TWITTER

     accounts.

247. TWITTER has been unjustly enriched due to fake Impressions from

     fake TWITTER accounts.

248. Engagements generated through genuine TWITTER accounts are

     genuine Engagements.

249. Engagements generated through fake TWITTER accounts are fake

     Engagements.

250. Follows generated through genuine TWITTER accounts are genuine

     Follows, or genuine Engagements.

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251. Follows generated through fake TWITTER accounts are fake Follows,

     or fake Engagements.

252. Ad Clicks generated through genuine TWITTER accounts are genuine

     Ad Clicks, or genuine Engagements.

253. Ad Clicks generated through fake TWITTER accounts are fake Ad

     Clicks, or fake Engagements.

254. TWITTER has suspended a total of 128 million fake accounts since

     they began doing so in the last quarter of 201 7.

255. The "About Suspended Accounts" page states, "Most of the accounts

     we suspend are suspended because they are spammy, or just plain

     fake ... These types of accounts are against our Twitter Rules.

     Unfortunately, sometimes a real person's account gets suspended by

     mistake, and in those cases we'll work with the person to make sure

     the account is unsuspended."

256. Of the abovementioned 128 million accounts that TWITTER has

     recently suspended, the overwhelming majority are "just plain fake."

257. Through their actions in recently suspending 128 million fake

     accounts, TWITTER acknowledges that they can indeed detect and

     suspend, or delete, fake accounts through the deployment of not only

     Artificial Intelligence systems, i.e. computer algorithms, assuming they

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     haven't deleted the data, but also by deploying Genuine Intelligence

     systems, through the utilization of effective policies and procedures

     and the deployment of an adequate number of competently trained

     review staff, to not only detect and prevent the creation of fake

     accounts on their platform in the first place, but also to detect and

     suspend, or delete, fake accounts from the TWITTER community, as

     they have been doing, since they began doing so in the last quarter of

     2017.

258. TWITTER can identify, and prevent or inhibit, fake Engagements in the

     same manner.

259. TWITTER can identify, and prevent or inhibit, fake Follows in the same

     manner.

260. TWITTER can identify, and prevent or inhibit, fake Ad Clicks in the

     same manner.

261 . TWITTER can identify, and prevent or inhibit, fake Impressions in the

     same manner.

262. If an Engagement was generated through a fake TWITTER account,

     then that Engagement is a fake Engagement.

263. If an Impression was generated through a fake TWITTER account, then

     that Impression is a fake Impression.

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264. TWITTER has billed DOSHIER and Class members for fake

     Engagements.

265. TWITTER overbills, and has overbilled Self-Serve Advertisers for

     Engagements, Follows, and Ad Clicks, as a result of fake Impressions,

     which have allowed TWITTER to inflate the pricing of its advertising.

266. TWITTER has market capitalization of $33 Billion.

267. TWITTER's market capitalization has been built on the backs of

     Self-Serve Advertisers, such as DOSHIER and Class members.

268. DOSHIER owns numerous digital properties, including DOTSTRATEGY.




269. DOSHIER and Class members sought to market their products or digital

     properties through ads, or Promoted Tweets, on TWITTER.

270. DOSHIER and Class members sought to market their products or digital

     properties on TWITTER through genuine Engagements, Follows, and

     Ad Clicks from real people with real TWITTER accounts.

271. DOSHIER and Class members also sought to market their products or

     digital properties on TWITTER to a genuine audience, through genuine

     Impressions by real people with real TWITTER accounts.

272. DOSHIER and Class members sought to monetize or increase the value

     of their products or digital properties through the generation of genuine

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     Engagements, Follows, Ad Clicks, and Impressions of their ads, or

     Promoted Tweets, from genuine TWITTER accounts on the TWITTER

     social network, not fake Engagements or Impressions from fake

     Twitter accounts.

273. DOSHIER and Class members sought to sell their products or digital

     properties by increasing genuine traffic to their product specific

     websites or digital properties, through the generation of genuine

     Engagements, Follows, Ad Clicks, and Impressions by real TWITTER

     users, not fake TWITTER users, through the placing of ads, or

     Promoted Tweets, on the TWITTER social network.

274. As Self-Serve Advertisers, DOSHIER and Class members have

     purchased ads, or Promoted Tweets, directly from TWITTER.

275. Promoted Tweets are ads that are placed on TWITTER.

276. DOSHIER and Class members have purchased ads, or Promoted

     Tweets, directly from TWITTER for their products or digital properties

     in order to increase genuine traffic to their product specific websites or

     digital properties, through the generation of real Impressions, and/or

     real Ad Clicks, and/or real Follows, and/or real Engagements through

     real TWITTER accounts, not through fake TWITTER accounts.




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277. DOSHIER and Class members have purchased ads, or Promoted

     Tweets, directly from TWITTER in order to sell their products or digital

      properties through real Engagements, such as Ad Clicks generated

     through real TWITTER accounts, not through fake TWITTER accounts.

278. Fake Twitter accounts do not result in sales for Self-Serve advertisers,

     but they do result in increased ad revenues for TWITTER.

279. TWITTER misrepresented and continues to misrepresent the actual

     number of genuine accounts on their social network.

280. DOSHIER and Class members have justifiably relied upon the following

     repeated misrepresentations by TWITTER and DOSHIER and Class

     members have formed reasonable expectations that the following are

     true and accurate:

     a.    That ads, or Promoted Tweets will be marketed to genuine

           people with genuine TWITTER accounts, not fake people with

           fake TWITTER accounts.

      b.   That ads, or Promoted Tweets, will generate genuine

            Impressions and Engagements through genuine TWITTER

           accounts, not fake Impressions and Engagements generated

           through fake TWITTER accounts.




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c.   That ads, or Promoted Tweets, will help you "Connect with new

     audiences [REAL PEOPLE]."

d.   That if you "Join Twitter Today" you can "Follow your

     interests," "Hear what [REAL] people are talking about," and

     "Join the conversation".

e.   That "Twitter is where [REAL] people come to discover what's

     happening."

f.   That advertising on TWITTER will help you "Reach potential

     customers" as well as help you to "Get your messages in front

     of [REAL] people not yet following you by promoting your

     Tweets."

g.   That advertising on TWITTER will help you "Gain more

     [GENUINE] followers" as well as help you to "Quickly grow your

     community of high value [GENUINE] followers and drive word of

     mouth by promoting your account."

h.   That advertising on TWITTER will help you "Measure results in

     real time" as well as help you to "Track the growth of your

     [REAL] follower base and see how [REAL] people engage with

     every single Tweet."




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1.   That advertising on TWITTER will allow you to "Choose your

     target audience" as well as allow you to "Reach the right

     audience by targeting based on interests, geography, gender,

     device, or users similar to your [REAL] followers. In addition,

     maximize the relevancy of your message by targeting by

     keywords in [REAL] people's Tweets."

j.   That advertising on TWITTER will allow you to "Amplify your

     message and get discovered" as well as allow you to "Get your

     Tweets and your account in front of more people who are

     interested in you [IMPRESSIONS]."

k.   That advertising on TWITTER will allow you to "Amplify your

     message and get discovered" through real Impressions by getting

     "your Tweets and your account in front of more [REAL] people

     who are interested in you."

I.   That if you advertised with TWITTER you could "Choose your

     target audience" to "Get your Tweets and your account in front

     of more [REAL] people who are interested in you

     [IMPRESSIONS]".

m.   That if you advertised with TWITTER you could "Choose your

     target audience" to "Gain more [GENUINE] followers".

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n.   That if you advertised with TWITTER you would "Gain more

     [GENUINE] followers", from "[REAL] people who are interested in

     you."

o.   That only real people use TWITTER.

p.   That if you join the TWITTER community you will be joining a

     community of real people.

q.   That genuine traffic will be generated for ads, or Promoted

     Tweets, placed on the TWITTER social network by Self-Serve

     Advertisers.

r.   That genuine Impressions will be generated for ads, or Promoted

     Tweets, placed on the TWITTER social network by Self-Serve

     Advertisers.

s.   That genuine Engagements will be generated for ads, or

      Promoted Tweets, placed on the TWITTER social network by

      Self-Serve Advertisers.

t.    That genuine Follows will be generated for ads, or Promoted

      Tweets, placed on the TWITTER social network by Self-Serve

      Advertisers.




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     u.    That genuine Ad Clicks will be generated for ads, or Promoted

           Tweets, placed on the TWITTER social network by Self-Serve

           Advertisers.

     v.    That the Self-Serve Advertisers would not be charged for

           Engagements generated through fake TWITTER accounts.

     w.    That the Self-Serve Advertisers would not be charged for

           Follows generated through fake TWITTER accounts.

     x.    That the Self-Serve Advertisers would not be charged for Ad

           Clicks generated through fake TWITTER accounts.

281. TWITTER's Self-Serve Advertisers like DOSHIER and Class members

     want to connect to real people with genuine TWITTER accounts, not

     fake people with fake TWITTER accounts.

282. According to TWITTER, "Twitter is what's happening in the world and

     what [REAL) people are talking about right now."

283. On TWITTER's "Let's go Twitter" page, which can be found at the

     following link: https:/ /about. twitter .com/en_us/lets-go-twitter .html,

     TWITTER states, "Getting started is easy ... Find a bunch of things

     you love. And then find [REAL) people to follow. That's all you need to

     do to see and talk about what's happening. Congratulations! You've

     just mastered Twitter. So let's get started."

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284. When opening a TWITTER account the first thing that you are required

     to provide is your "Name."

285. TWITTER's Self-Serve Advertisers expect to connect with real people

     on the TWITTER platform.

286. DOSHIER and Class members had a justifiable expectation that

     TWITTER was TRUSTWORTHY, ACCOUNTABLE, TRANSPARENT, not

     FAKE.

287. TWITTER has billed DOSHIER and Class members for Engagements,

     such as Follows and Ad Clicks, for the ads, or Promoted Tweets that

     DOSHIER and Class members have placed on TWITTER

288. TWITTER has billed DOSHIER and Class members for for fake

     Engagements, such as Follows and Ad Clicks that were generated

     through fake TWITTER accounts.

289. TWITTER has overbilled DOSHIER and Class members for the ads, or

     Promoted Tweets, that DOSHIER and Class members have placed on

     TWITTER.

290. TWITTER continues to overbill Self-Serve Advertisers by inflating the

     pricing of its advertising due to the fact that Impressions are not only

     generated by real TWITTER accounts, but also generated by fake

     TWITTER accounts.

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291. DOSHIER and Class members have suffered damages.

292. TWITTER knew or should have known that it has billed DOSHIER and

     Class members for fake Engagements, such as Follows and Ad Clicks

     that were generated through fake TWITTER accounts.

293. TWITTER knew or should have known that it has overbilled DOSHIER

     and Class members for fake Engagements, such as Follows and Ad

     Clicks that were generated through fake TWITTER accounts.

294. DOSHIER and Class members have relied upon TWITTER'S

     representations and have had a justifiable expectation that TWITTER

     is, and always has been a social media space where real people

     communicate and interact with each other through messages known

     as "tweets."

295. Plaintiff reasonably expected, based on TWITTER's own statements,

     that Plaintiff would only be charged for real Engagements, Follows,

     and Ad Clicks generated through real TWITTER accounts, not fake

     Engagements generated through fake TWITTER accounts.

296. Since the date TWITTER began providing advertising services through

     the present, TWITTER has failed to publicly disclose or adequately

     disclose information, namely, that fake TWITTER accounts populate

     the TWITTER platform, and that it does not implement appropriate

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      policies and procedures to detect and prevent, either by suspension or

      deletion, said fake TWITTER accounts.

297. Since the date TWITTER began providing advertising services through

      the present, TWITTER has failed to disclose or adequately publicly

      disclose information, namely, that it did not have the appropriate

      measures in place to adequately detect and filter, or eliminate, fake

     TWITTER accounts and that it does not implement appropriate policies

     and procedures to avoid billing for fake Engagements.

298. Based on TWITTER's failure to publicly disclose, or failure to

     adequately publicly disclose, that the TWITTER platform was

     populated by fake TWITTER accounts, DOSHIER and Class members

     reasonably expected that they would not be charged for Engagements

     generated through fake TWITTER accounts.

299. Plaintiff reasonably expected, based on TWITTER's own statements,

     that Plaintiff would only be charged for real Engagements generated

     through TWITTER users, not fake Impressions generated through fake

     TWITTER accounts.

300. TWITTER knew or should have known that it had a rampant fake

     account problem, but it chose not to inform it's advertisers that it had




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     such a problem, as that would have substantially decreased its ad

     revenue.

301 . TWITTER either does not have systems in place to protect genuine

     members of the TWITTER community, such as DOSHIER and CLASS

     members, or the systems that they do have in place as are grossly

     inadequate to protect them from fake TWITTER accounts.

302. TWITTER has a contractual duty to only charge for Engagements, such

     as Follows and Ad Clicks, generated through real TWITTER accounts.

303. TWITTER has a contractual duty to only charge for Engagements

     generated through real TWITTER accounts.

304. TWITTER has a contractual duty to only market Promoted Tweets to

     real people with real TWITTER accounts, resulting in real Impressions.

305. DOSHIER has fil.ed this Class Action on behalf of himself and Class

     members, to notify TWITTER that they have charged DOSHIER and

     Class members for Engagements, such as Follows and Ad Clicks,

     generated through fake TWITTER accounts.

306. DOSHIER has filed this Class Action on behalf of himself and Class

     members, to notify TWITTER that they have marketed DOSHIER's and

     Class members' Promoted Tweets to fake TWITTER accounts resulting

     in fake Impressions.

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307. DOSHIER has filed this Class Action on behalf of himself and Class

     members, and is requesting the court to order TWITTER to review all

     of the TWITTER accounts, including but not limited to the Handles,

     Profiles, Names, #FirstTweet[s], and Tweet History, of such TWITTER

     accounts, that generated Impressions and Engagements, such as

     Follows and Ad Clicks, for all of the ads, or Promoted Tweets, for

     which DOSHIER has been charged by TWITTER. In this manner, the

     court can objectively determine the extent to which DOSHIER's ads, or

     Promoted Tweets, resulted in Impressions and/or Engagements, such

     as Follows and Ad Clicks, that were generated through fake accounts.

     Upon a finding that DOSHIER has been charged for fake Engagements,

     TWITTER should be made to reimburse DOSHIER for those

     Engagements that were generated through fake TWITTER accounts, as

     DOSHIER is not obligated to pay for Engagements that have been

     generated through fake TWITTER accounts.

308. DOSHIER has filed this Class Action on behalf of himself, and Class

     members, and is requesting the court to order TWITTER to allow

     DOSHIER as Class Representative to participate in TWITTER's review

     of DOSHIER's ads, or Promoted Tweets, in order to objectively

     determine the extent to which DOSHIER's ads, or Promoted Tweets,

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     resulted in Impressions and Engagements, such as Follows and Ad

     Clicks, that were generated through fake accounts. Upon a finding that

     DOSHIER has been charged for fake Engagements, TWITTER should be

     made to reimburse DOSHIER for those Engagements that were

     generated through fake TWITTER accounts, as DOSHIER is not

     obligated to pay for Engagements that have been generated through

     fake TWITTER accounts.

309. If the review of DOSHIER's ads, or Promoted Tweets, confirms that he

     has been charged for fake Engagements, DOSHIER, as class

     representative, requests the court to order TWITTER to review all of

     the TWITTER accounts, including but not limited to the Handles,

     Profiles, Names, #FirstTweet[s], and Tweet History, of such TWITTER

     accounts that generated Impressions and Engagements, such as

     Follows and Ad Clicks, for all of the ads, or Promoted Tweets, for

     which Class members have been charged by TWITTER. In this manner,

     the court can objectively determine the extent to which Class

     member's ads, or Promoted Tweets, resulted in Impressions and/or

     Engagements, such as Follows and Ad Clicks, that were generated

     through fake accounts. Upon a finding that Class Members have been

     charged for fake Engagements, TWITTER should be made to reimburse

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     Class members for those Engagements that were generated through

     fake TWITTER accounts, as Class members are not obligated to pay

     for Engagements that have been generated through fake TWITTER

     accounts.

310. The methodology that DOSHIER requests the court to order will not

     necessarily require an analysis of every single TWITTER ad, or

     Promoted Tweet, for which DOSHIER and Class members have been

     charged by TWITTER, as it will become clear that a bell curve of fake

     TWITTER accounts will be established across the class.

311. The methodology that DOSHIER requests the court to order will not

     necessarily require an analysis of every single TWITTER account that

     generated Impressions or Engagements, for every single TWITTER ad,

     or Promoted Tweet, for which DOSHIER and Class members have been

     charged by TWITTER, as it will become clear that a bell curve of fake

     Impressions and fake Engagements will be established across the

     class.

312. A review of the abovementioned Twitter accounts for fake

     Impressions, Impressions generated through fake TWITTER accounts,

     will show the extent to which TWITTER has been unjustly enriched by




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      allowing fake Twitter accounts to populate and persist on the

      TWITTER platform.

313. For the purposes of this lawsuit, a fake Engagement is defined as an

      Engagement generated through a fake TWITTER account.

314. For the purposes of this lawsuit, a fake Follow is defined as a Follow

      generated through a fake TWITTER account.

31 5. For the purposes of this lawsuit, a fake Ad Click is defined as an Ad

      Click generated through a fake TWITTER account.

316. A Follow and an Ad Click are Engagements.

317. For the purposes of this lawsuit, a fake Impression is defined as an

      Impression generated through a fake TWITTER account.

318. An Impression is not an Engagement.

319. Determining the extent to which fake Impressions are present in the

      number of Impressions (% of Fake Impressions in Total Impressions)

      that a Promoted Tweet receives, or can expect to receive, will provide

     the court with an objective measurement of the extent to which

      TWITTER inflated the pricing of its Promoted Tweets. This will also

      provide an objective measurement of the extent of the fraud

      committed by TWITTER in their marketing of Promoted Tweets, to

      Self-Serve Advertisers, such as DOSHIER and Class members, as

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     TWITTER represented to them that their Promoted Tweets would be

     marketed to real people.

320. TWITTER, despite having the software coding capability and access to

     capital, failed to deploy systems, and/or hire competently trained staff,

     to detect and prevent fake TWITTER accounts, because the reduction

     in TWITTER's ad revenue would have been substantial had they

     suspended and/or deleted the fake TWITTER accounts from the

     TWITTER platform.

321. TWITTER misrepresented the actual number of real Impressions that a

     Promoted Tweet could receive or did receive.

322. TWITTER failed to deploy systems to detect and prevent fake

     TWITTER accounts because of their need to generate more and more

     ad revenue to satisfy their greed.

323. TWITTER committed widespread fraud across its platform by charging

     DOSHIER and Class members for fake Engagements.

324. TWITTER committed widespread fraud across its platform by charging

     DOSHIER and Class members inflated pricing for Promoted Tweets due

     to the creation of a fake demand, or artificial market or audience, by

     TWITTER, for Promoted Tweets through fake Impressions.

325. TWITTER's internal documents will reveal the extent of their fraud.

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326. TWITTER has chosen to look the other way, as their ad revenues have

     soared, by failing to implement systems to detect and prevent fake

     Engagements, and/or fake Follows, and/or fake Ad Clicks and/or fake

     Impressions on its platform.

327. TWITTER knew of the potential problems with the design of their

     network, which allowed the prolific creation of fake TWITTER

     accounts across their community, yet they chose to look the other

     way.

328. TWITTER knows, and has known, that their community is, and has

     been, populated by fake TWITTER accounts, and that a significant

     amount of their ad revenue is generated through fake Engagements.

329. TWITTER knows, and has known, that their community is, and has

     been, populated by fake TWITTER accounts, and that they can charge

     more for Promoted Tweets by creating the perception that there is a

     substantial market or audience for, or demand, for Promoted Tweets

     through the marketing of fake Impressions.

330. TWITTER should be estopped from attempting to disavow any

     responsibility and liability for charging DOSHIER and Class members for

     fake Engagements, such as Follows and Ad Clicks generated through

     fake accounts, as TWITTER has been unjustly enriched by failing to do

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     anything about its fake account problem despite knowing about for

     years.

331 . TWITTER should be estopped from attempting to disavow any

     responsibility and liability for creating an artificial market or audience,

     or fake demand for Promoted Tweets, through fake Impressions, as

     TWITTER has been unjustly enriched by failing to do anything about its

     fake account problem despite knowing about for years.

332. DOSHIER became aware of the widespread extent that fake accounts

     populate the TWITTER platform when TWITTER admitted that they had

     suspended 128 (58     + 70) million fake accounts since they began

     suspending accounts in the last quarter of 2017. This is when the

     statute of limitations began to run. This is when DOSHIER became

     aware that it was more likely than not that TWITTER had invoiced him

     for fake Engagements.

333. Invoicing DOSHIER and Class members for fake Engagements is

     fraudulent and a breach of contract.

334. Each and every fake Engagement for which DOSHIER and Class

     members have been charged for by TWITTER is its own stand alone

     event giving rise to the claims in this matter.




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335. Each and every fake Engagement for which DOSHIER and Class

     members have been charged for by TWITTER, is its own act of fraud,

     and/or breach of contract, and is its own stand alone event giving rise

     to the claims in this matter.

336. Each and every fake Impression for the ads, or Promoted Tweets, for

     which DOSHIER and Class members have been charged for by

     TWITTER, is its own act of fraud, and/or breach of contract, and is its

     own stand alone event giving rise to the claims in this matter.

337. Furthermore, each ad, or Promoted Tweet, in which DOSHIER and

     Class members were charged by TWITTER for fake Engagements, will

     also be its own stand alone event giving rise to the claim for that

     specific ad, as TWITTER invoiced DOSHIER and Class members for the

     total cost of that specific ad, which included charges for fake

     Engagements.

338. Hence, there are significant measurable damages in this matter.

339. DOSHIER has placed 34 ads on TWITTER for DOTSTRATEGY.

340. DOSHIER is unable to perform even a limited manual review of the ads

     that he placed on TWITTER, as the Handle data for the Twitter

     accounts that generated the Engagements for which TWITTER charged

     DOSHIER is no longer available in his TWITTER Ads Manager.

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341. As a matter of fact, very little data is available to DOSHIER in his Ads

      Manager, thus limiting his ability to manually review his advertising

      account with TWITTER.

342. Due to TWITTER's self-serving data retention policies, TWITTER has

      not provided transparency or accountability for any of the charges

      invoiced to DOSHIER for any of the ads, or Promoted Tweets, that he

      placed on the TWITTER platform, thus limiting his ability to review his

      account with TWITTER.

343. DOSHIER placed 34 ads on TWITTER from October 2013 to December

      2016.

344. Of the 34 ads that DOSHIER placed on TWITTER there is no data

      available from TWITTER for 29 of those ads.

345. TWITTER has provided data on only 5 of the ads, and that data is

      minimal at best.

346. None of the Handles are available for any of the TWITTER accounts

      that generated the Engagements for any of the ads, or Promoted

      Tweets, for which DOSHIER was charged by TWITTER. Thus, he is not

      able to review the TWITTER accounts that generated Follows or Ad

      Clicks for those Promoted Tweets. Thus, he is unable to perform even

      a limited manual review of those TWITTER accounts which generated

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     the Engagements to determine whether those Twitter accounts, and

     thus the Engagements that were genearted through them, are fake or

     not.

34 7. With regard to spotting a fake account on TWITTER, the process is

     simple, but time consuming. But, without a TWITTER user's Handle,

     such as "@faketwitteraccount, " it is impossible to do.

348. DOSHIER has spent a total of $2,220.76 on 34 TWITTER ads.

349. DOSHIER has filed this Class Action on behalf of himself and Class

     members, to request the court to protect DOSHIER and Class members

     from TWITTER.

350. A review of the Twitter accounts that generated Impressions of

     DOSHIER's ads, or Promoted Tweets, for fake Impressions,

     Impressions generated through fake TWITTER accounts, will show the

     extent to which TWITTER has been unjustly enriched by allowing fake

     Twitter accounts to populate and persist on the TWITTER platform.

351. DOSHIER has filed this Class Action on behalf of himself, and Class

     members, and is requesting the court to order TWITTER to reimburse

     DOSHIER and Class members for Engagements that are determined to

     be generated through fake TWITTER accounts.




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352. Due to TWITTER's lack of accountability and transparency, and

     rampant fake account problem, which TWITTER has known about, as

     well as its self-serving data retention policies, DOSHIER asks the court

     to assume that every Engagement that DOSHIER and Class members

     have been charged for by TWITTER is fake until proven otherwise by

     TWITTER.

353. DOSHIER and Class members had a reasonable expectation that their

     ads, or Promoted Tweets, would be seen by real people with real

     TWITTER accounts thus generating real Impressions, not fake

     Impressions.

354. Although Impressions are not Engagements, DOSHIER has filed this

     Class Action on behalf of himself, and Class members, and is

     requesting the court to order TWITTER to set aside a percentage of

     TWITTER's ad revenues, said percentage to be that percentage of

     Impressions that are determined to have been generated by fake

     TWITTER accounts, for DOSHIER and Class members, in order to

     prevent TWITTER from being unjustly enriched by allowing the

     widespread proliferation of fake TWITTER accounts on the TWITTER

     platform, which allowed them to create an artificial market or

     audience, or fake demand, that DOSHIER and Class members relied

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     upon to their detriment, as the ads, or Promoted Tweets that they

     purchased were marketed to fake TWITTER accounts.

355. TWITTER was either negligent or they intentionally committed fraud by

     allowing the widespread proliferation of fake TWITTER accounts on the

     TWITTER platform.

356. DOSHIER asks the court to appoint him as Class Representative.

357. DOSHIER asks the court to certify this matter as a Class Action.

358. DOSHIER has a workable methodology for defining with precision the

     fake Engagements that DOSHIER and Class members are not obligated

     to pay for, as well as for determining on a class-wide basis whether,

     and to what extent, putative class members were charged for such

     Engagements.

359. TWITTER has, or should have, the Handles for each TWITTER account

     that generated an Engagement for every ad, or Promoted Tweet, that

     DOSHIER and Class members purchased from TWITTER. By manually

     reviewing each TWITTER account, including but not limited to the

     Handles, Profiles, Names, #FirstTweet[s], and Tweet History of said

     TWITTER accounts, for each TWITTER account that generated an

     Engagement for every ad, one can determine whether the Engagement

     was generated through a fake account.

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360. Engagements generated through fake TWITTER accounts are fake

     Engagements.

361. DOSHIER and Class members are to be reimbursed for every fake

     Engagement that TWITTER charged them for.

362. Follows and Ad Clicks are Engagements.

363. DOSHIER has a workable methodology for defining with precision the

     fake Impressions, Impressions generated through fake TWITTER

     accounts, through which TWITTER unjustly enriched itself, as well as

     for determining on a class-wide basis whether, and to what extent,

     putative class members' ads, or Promoted Tweets, were marketed to

     such fake TWITTER accounts that the generated the fake Impressions.

364. Impressions generated through fake TWITTER accounts are fake

     Impressions.

365. TWITTER has, or should have, the Handles for each TWITTER account

     that generated an Impression for every ad, or Promoted Tweet, that

     DOSHIER and Class members purchased from TWITTER. By manually

     reviewing each TWITTER account, including but not limited to the

     Handles, Profiles, Names, #FirstTweet[s], and Tweet History of said

     TWITTER accounts, for each TWITTER account that generated an




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     Impression for every ad, one can determine whether the Impression

     was generated through a fake account.

366. DOSHIER and Class members are not obligated to pay for

     Engagements, such as Follows or Ad Clicks, generated through fake

     TWITTER accounts.

367. The issues to be determined in this matter are whether and to what

     extent DOSHIER and Class members have been charged for

     Engagements generated through fake Twitter accounts, and whether

     and to what extent TWITTER has been unjustly enriched by marketing

     ads, or Promoted Tweets, to fake TWITTER accounts, which result in

     fake Impressions, which allow, and have allowed TWITTER to profit at

     the expense of DOSHIER and Class members.

368. The methodology to determine whether Engagements were generated

     through fake accounts, which is the issue in this matter, is the same

     for each Class member, and is the same across the Class.

369. DOSHIER's methodology to determine on a class-wide basis whether,

     and to what extent, DOSHIER and Class members have been charged

     for Engagements generated through fake Twitter accounts and

     whether and to what extent TWITTER has been unjustly enriched

     involves nothing more than what TWITTER should have been doing all

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     along. TWITTER should be made to deploy both an automated (i.e.

     computer algorithms) and a manual review of the TWITTER accounts

     which generated the Engagements, Ad Clicks, Follows, and

     Impressions, for the ads, or Promoted Tweets, for which each Class

     member was charged for by TWITTER. Thus, TWITTER will be able to

     determine whether the TWITTER accounts which generated the

     Engagements, Ad Clicks, Follows, and Impressions were generated

     through fake TWITTER accounts or not.

370. Based upon the fact that TWITTER detected and suspended 128

     million fake accounts since they began doing so in the last quarter of

     2017, it is evident that this methodology can be employed in this case.

371. TWITTER unequivocally has the ability to perform an automated review

     of the TWITTER accounts that generated Engagements that TWITTER

     charged DOSHIER and Class members for.

372. TWITTER unequivocally has the ability to perform an automated review

     as DOSHIER is requesting the court to order.

373. TWITTER unequivocally has the ability to perform a manual review of

     the TWITTER accounts that generated Engagements that TWITTER

     charged DOSHIER and Class members for.




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374. TWITTER unequivocally has the ability to perform a manual review as

     DOSHIER is requesting the court to order.

375. TWITTER has a list of all of the Self-Serve Ad customers like

     DOSHIER.

376. All of TWITTER's Self-Serve Ad customers, like DOSHIER, will have

     the same type of Twitter analytics data as DOSHIER. This data will

     include the Handles of the TWITTER accounts that generated

     Engagements for every ad, or Promoted Tweet, that Self-Serve Ad

     customers purchased from TWITTER.

377. All of the Class members will have the same type of Twitter analytics

     data as DOSHIER.

378. TWITTER has, or should have, in its possession all of the analytics

     data for all of the Self-Serve Ads that DOSHIER and Class members

     have placed on TWITTER.

379. If TWITTER has failed to retain the analytics data, such as the Handles

     of the TWITTER accounts, which generated the Engagements, then

     TWITTER should be held liable for all of the Engagements.

380. If TWITTER has failed to retain the analytics data, such as the Handles

      of the TWITTER accounts, which generated the Impressions, then

     TWITTER should be held to have unjustly enriched itself.

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381 . If TWITTER has failed to retain the analytics data for the ads in which

      DOSHIER and Class members were charged by TWITTER, DOSHIER

      requests the court to assume that all of the TWITTER accounts which

      generated the Engagements, Ad Clicks, Follows, and Impressions, are

     fake TWITTER accounts until proven otherwise by TWITTER.

382. TWITTER should be liable for Engagements generated through

      TWITTER accounts that TWITTER can't prove are real.

383. TWITTER should not be allowed to profit at the expense of DOSHIER

      and Class members, by charging them for fake Engagements.

384. DOSHIER requests that the court order TWITTER to reimburse

      DOSHIER and Class members for every fake Impression.

385. TWITTER should not be allowed to be unjustly enriched at the expense

      of DOSHIER and Class members, by marketing their ads, or Promoted

      Tweets, to an audience that was tainted by fake TWITTER accounts.

386. TWITTER should be liable for Impressions generated those TWITTER

      accounts that TWITTER can't prove are real.

387. According to the article by Naked Security, "Fallen for a fake Twitter

      account? Here's how to spot them," dated February 16, 2017, "To get

      to a given account's true genesis, there's an easy way to search for its

      first tweet: just go to #FirstTweet and enter the account name."

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388. The article by Naked Security, "Fallen for a fake Twitter account?

     Here's how to spot them," dated February 16, 2017, can be found at

     the following link:

     https://nakedsecurity .sophos.com/2017 /02/16/fallen-for-a-fake-twitter-

     account-heres-how-to-spot-them/

389. The "#FirstTweet" phrase in the abovementioned article, "Fallen for a

     fake Twitter account? Here's how to spot them," is a link to a Twitter

     page that is no longer available.

390. The #First Tweet link was as follows:

     https ://www .discover. twitter .com/first-tweet

391 . The fact that the #FirstTweet link is no longer available on TWITTER is

     further evidence of TWITTER's self-serving policies, such as its data

     retention policies, that it has put in place to hide the fact that it has an

     extensive fake account problem for which it does not want to be held

     accountable.

392. Damages can be determined on a class-wide basis using this

     automated and manual review methodology to confirm DOSHIER and

     Class members have been charged for Engagements, such as Ad Clicks

     and Follows, generated through TWITTER accounts.




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393. Damages can be determined on a class-wide basis using this

     automated and manual review methodology to confirm that TWITTER

     has been unjustly enriched by being able to inflate the pricing of its ad

     based upon fake Impressions generated though fake Twitter accounts.

394. The fact that TWITTER detected and suspended 1 28 million fake

     accounts since they began doing so in the last quarter of 2017 proves

     that they have systems in place to conduct this kind of review.

395. As the "bad actor" and sole repository of the data required to establish

     liability in this matter, TWITTER should be made to bear the cost of all

     actions associated with validating accounts in the manner described

     herein, including, but not limited to, manpower utilization and

     verification procedures, either automated or manual.

396. DOSHIER has filed this class action lawsuit, on behalf of himself and

     Class members, to ask the court to hold TWITTER accountable for the

      DIRECT damages that TWITTER has inflicted upon them for charging

     them for fake Engagements, as well as for the unjust enrichment of

     TWITTER as a result of TWITTER having created an artificial market or

      audience, and fake demand, for ads placed on TWITTER, through fake

      Impressions (i.e. Impressions generated through fake TWITTER




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      accounts) which has allowed TWITTER to profit at the expense of

      DOSHIER and Class members.

                          CLASS ACTION - ARCP 23

397. Arkansas Rules Of Civil Procedure 23 provides that the prerequisites to

      a Class Action are: ( 1) the class is so numerous that joinder of all

      members is impracticable, (2) there are questions of law or fact

      common to the class, (3) the claims or defenses of the representative

      parties are typical of the claims or defenses of the class, and (4) the

      representative parties will fairly and adequately protect the interests of

     the class.

398. The preceding paragraphs of this Complaint are realleged and

      incorporated by reference as if fully set forth herein.

399. Pursuant to ARCP 23 Plaintiff, individually and on behalf of all others

      similarly situated, brings this lawsuit on behalf of themselves and as a

      class action on behalf of the following Class: All persons and/or

      entities within the United States who entered into Self-Service

      Advertising agreements with TWITTER, Inc. and who were

      subsequently charged by the Defendant for Engagements generated

      through fake TWITTER accounts.

400. The following persons and/or entities are excluded from the Class:

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     a.     Persons and/or entities who timely opt-out of this proceeding

            using the correct protocol for opting-out that will be formally

            established by this court;

     b.     Any and all federal, state, and/or local governments, including,

            but not limited to, their departments, agencies, divisions,

            bureaus, boards, sections, groups, counsels, and/or subdivisions;

     c.     Any currently sitting Arkansas state court judge and/or justice in

            the current style and/or any persons within the third degree of

            consanguinity to such judge and/or justice; and

     d.     Any person or entity who has filed a lawsuit against Defendants

            for overcharging for invalid clicks.

401. This court should find that a class action is maintainable because the

      requirements to ARCP 23 (a) are met by the class; that the questions

      of law or fact common to the members of the class predominate over

      any questions affecting only individual members; and that a class

      action is superior to other available methods for the fair and efficient

      adjudication of the controversy.

402. This matter should be certified as a class action by the Circuit Court of

      Faulkner County, Arkansas.




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403. Plaintiffs should be awarded attorneys fees pursuant A.C.A. 4-88-113

      (f) and A.C.A. 16-22-308.

404. All of the causes of action of the Plaintiffs herein occurred and are

      operative subsequent to February 18th, 2005. The causes of action

      herein are subsequent to the effective date of the Class Action

      Fairness Act (C.A.F .A.), Pub. L. No. 109-2.

405. Numerosity: The members of each Class are so numerous that joinder

      of all members of any Class would be impracticable. Plaintiff

      reasonably believes that Class members number in the 1 Os of millions

      of people or more in the aggregate. The names and addresses of Class

      members are identifiable through documents maintained by

      Defendants.

406. Commonality and Predominance: This action involves common

      questions of law or fact, which predominate over any questions

      affecting individual Class members, including:

      a.    Whether and to what extent TWITTER charged Plaintiff and

            Class members for Engagements that were generated though

            fake accounts;




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b.   Whether and to what extent TWITTER was unjustly enriched by

     being able to inflate the pricing of its ads based upon fake

     Impressions generated though fake accounts.

c.   Whether Defendant's conduct violated the Deceptive Trade

     Practices Act {A.C.A. 4-88-107 (a) (1)};

d.   Whether Defendant's conduct violated the Unfair Practices Act

     {A.C.A. 4-75-201 et seq};

e.   Whether Defendant violated Arkansas Common Law for Fraud

     and Deceit;

f.   Whether Defendant breached their advertising Contract with

     Plaintiff and Class members;

g.   Whether TWITTER misrepresented and continues to misrepresent

     the number of genuine accounts on the TWITTER platform;

h.   Whether Plaintiff and Class members' detrimentally relied upon

     Defendant's representations regarding the number of genuine

     accounts on the TWITTER platform;

i.   Whether TWITTER misrepresented and continues to misrepresent

     that ads, or Promoted Tweets will be marketed to real people

     with real TWITTER accounts, not to fake people with fake

     TWITTER accounts.

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J.   Whether Plaintiff and Class members' detrimentally relied upon

     Defendant's representations that ads, or Promoted Tweets will

     be marketed to real people with real TWITTER accounts, not to

     fake people with fake TWITTER accounts.

k.   Whether TWITTER misrepresented and continues to misrepresent

     the number of genuine Impressions that ads, or Promoted

     Tweets will generate through genuine TWITTER accounts.

I.   Whether Plaintiff and Class members' detrimentally relied upon

     Defendant's representations as to the number of genuine

     Impressions that ads, or Promoted Tweets will generate through

     genuine TWITTER accounts;

m.   Whether TWITTER misrepresented and continues to misrepresent

     that ads, or Promoted Tweets, will result in genuine

     Engagements generated through genuine Twitter accounts, not

     fake Engagements generated through fake TWITTER accounts.

n.   Whether Plaintiff and Class members detrimentally relied upon

     Defendant's representations that ads, or Promoted Tweets, will

     result in genuine Engagements generated through genuine

     Twitter accounts, not fake Engagements generated through fake

     TWITTER accounts.

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o.   Whether TWITTER misrepresented and continues to misrepresent

     that ads, or Promoted Tweets that ads placed on their social

     network, or the TWITTER website would be marketed to real

     people;

p.   Whether Plaintiff and Class members detrimentally relied upon

     Defendant's representations that ads placed on their social

     network, or the TWITTER website would be marketed to real

     people with genuine accounts;

q.   Whether TWITTER knowingly made false representations and

     continues to make false representations about the number of

     genuine accounts, or real people on its social network, or

     TWITTER community;

r.   Whether Plaintiff and Class members' detrimentally relied upon

     Defendant's representations about the number of genuine

     accounts, or real people on its social network, or TWITTER

     community;

s.   Whether TWITTER knowingly made false representations and

     continues to make false representations that ads placed on its

     platform would be marketed to real people with genuine




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           TWITTER accounts on the social network, or TWITTER

           community;

     t.    Whether Plaintiff and Class members' detrimentally relied upon

           Defendant's representations that ads placed on its platform

           would be marketed to real people with genuine TWITTER

           accounts on the social network, or TWITTER community;

     u.    Whether Defendant was Unjustly Enriched at Plaintiff's and Class

           members' expense;

     v.    Whether Plaintiff and the Class are entitled to equitable relief,

           including, but not limited to, injunctive relief and restitution; and

     w.    Whether Plaintiff and the other Class members are entitled to

           actual, statutory, or other forms of damages, and other monetary

           relief.

407. Defendant engaged in a common course of conduct giving rise to the

     legal rights sought to be enforced by Plaintiff individually and on behalf

     of the members of the class. Similar or identical statutory and common

     law violations, business practices, and injuries are involved. Individual

     questions, if any, pale by comparison, in both quantity and quality, to

     the numerous common questions that dominate this action.




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408. Typicality: Plaintiff's claims are typical of the claims of the other

      members of their respective classes because, among other things,

      Plaintiff and the other class members were injured through the

      substantially uniform misconduct of Defendants. Plaintiff is advancing

      the same claims and legal theories on behalf of himself and all other

      Class members, and there are no defenses that are unique to Plaintiff.

      The claims of Plaintiff and hose of other Class members arise from the

      same operative facts and are based on the same legal theories.

409. Adequacy of Representation: Plaintiff is an adequate representative of

      the class because his interests do not conflict with the interests of the

      other Class members he seeks to represent; he has retained counsel

      competent and experienced in complex class action litigation and

      Plaintiff will prosecute this action vigorously. The Class members'

      interests will be fairly and adequately protected by Plaintiff and his

      counsel.

410. Superiority: A class action is superior to any other available means for

      the fair and efficient adjudication of this controversy, and no unusual

      difficulties are likely to be encountered in the management of this

      matter as a class action. The damages, harm, or other financial

      detriment suffered individually by Plaintiff and the other members of

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     their respective classes are relatively small compared to the burden and

     expense that would be require to litigate their claims on an individual

     basis against Defendant, making it impracticable for Class members to

     individually seek redress for Defendant's wrongful conduct. Even if

     Class members could afford individual litigation, the court system

     could not. Individualized litigation would create a potential for

     inconsistent or contradictory judgments, and increase the delay and

     expense to all parties and the court system. By contrast, the class

     action device presents far fewer management difficulties and provides

     the benefits of single adjudication, economies of scale, and

     comprehensive supervision by a single court.

411. Further, Defendant has acted or refused to act on grounds generally

     applicable to the Class and, accordingly, final injunctive or

     corresponding declaratory relief with regard to the members of the

      Class as a whole is appropriate under Rule 23(b) of the Arkansas Rules

     of Civil Procedure.

412. Likewise, particular issues under Rule 23(b) are appropriate for

     certification because such claims present only particular, common

      issues, the resolution of which would advance the disposition of this




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matter and the parties' interests therein. Such particular issues include,

but are not limited to:

a.    Whether and to what extent TWITTER charged Plaintiff and

      Class members for Engagements generated through fake

      TWITTER accounts;

b.    Whether (and when) TWITTER knew that fake TWITTER

      accounts were generating Engagements for ads, or Promoted

      Tweets, placed on its platform, or social network;

c.    Whether (and when) TWITTER knew that it had a substantial

      number of fake accounts that were generating Impressions for

      ads, or Promoted Tweets, placed on its platform, or social

      network;

d.    Whether (and when) TWITTER knew that its algorithms were

      failing to detect and prevent the creation of fake accounts on its

      platform, or social network;

e.    Whether (and when) TWITTER knew that its algorithms were

      failing to detect and suspend, or delete, fake accounts on its

      platform, or social network;

f.    Whether TWITTER knew (and when) that ads on its platform, or

      social network, were generating substantial revenue for the

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     company through Engagements generated through fake

     TWITTER accounts;

g.   Whether TWITTER failed to comply with its own policies or

     applicable laws, regulations, and industry standards relating to

     unfair and deceptive trade practices;

h.   Whether TWITTER misrepresented and continues to misrepresent

     the number of genuine accounts on the TWITTER platform;

i.   Whether Plaintiff and Class members' detrimentally relied upon

     Defendant's representations regarding the number of genuine

     accounts on the TWITTER platform;

j.   Whether TWITTER knowingly made false representations and

     continues to make false representations about the number of

     genuine accounts, or real people on the social network;

k.   Whether TWITTER knowingly made false representations and

     continues to make false representations that ads placed on the

     social network would be marketed to genuine accounts, or real

     people on the social network;

I.   Whether TWITTER misrepresented and continues to misrepresent

     that ads, or Promoted Tweets will be marketed to real people




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           with real TWITTER accounts, not to fake people with fake

           TWITTER accounts.

     m.    Whether Plaintiff and Class members' detrimentally relied upon

           Defendant's representations that ads, or Promoted Tweets will

           be marketed to real people with real TWITTER accounts, not to

           fake people with fake TWITTER accounts.

     n.    Whether TWITTER misrepresented and continues to misrepresent

           the number of genuine Impressions that an ad, or Promoted

           Tweets, will generate through genuine TWITTER accounts.

     o.    Whether Plaintiff and Class members' detrimentally relied upon

           Defendant's representations as to the number of genuine

           Impressions that an ad, or Promoted Tweets will generate

           through genuine TWITTER accounts; and

     p.    Whether Defendant's acts, omissions, misrepresentations, and

           practices were and are likely to deceive consumers.

413. Plaintiff and Class members allege and contend that they have suffered

     damages.

                        FIRST CLAIM FOR RELIEF

 Violations of the Deceptive Trade Practices Act {A.C.A. 4-88-107 (a) (1)}




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414. The preceding paragraphs of this Complaint are realleged and

     incorporated by reference as if fully set forth herein.

41 5. Deceptive and unconscionable trade practices made unlawful and

     prohibited by this chapter include, but are not limited to, the following:




     a.    TWITTER misrepresented and continues to misrepresent the

           number of genuine accounts on the TWITTER platform;

     b.    TWITTER misrepresented and continues to misrepresent the

           number of fake accounts on the TWITTER platform;

     c.    TWITTER knowingly made false representations and continues to

           make false representations about the number of genuine

           accounts, or real people on its social network, or TWITTER

           community;

     d.    TWITTER knowingly made false representations and continues to

           make false representations that ads placed on its platform would

           be marketed to real people with genuine TWITTER accounts, not

           to fake people with fake TWITTER accounts;

      e.   TWITTER misrepresented and continues to misrepresent that an

           ad, or Promoted Tweet, will be marketed to real people with real




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           TWITTER accounts, not to fake people with fake TWITTER

           accounts.

     f.    TWITTER misrepresented and continues to misrepresent the

           number of genuine Impressions that an ad, or Promoted Tweet,

           will generate through genuine TWITTER accounts.

     g.    TWITTER misrepresented and continues to misrepresent that an

           ad, or Promoted Tweet, will result in genuine Engagements

           generated through genuine Twitter accounts, not fake

           Engagements generated through fake TWITTER accounts.

416. TWITTER charged Plaintiff and Class members for Engagements

     generated through fake TWITTER accounts.

41 7. TWITTER has been unjustly enriched by marketing ads, or Promoted

     Tweets, to fake TWITTER accounts, which result in fake Impressions,

     which allow, and have allowed TWITTER to profit at the expense of

     DOSHIER and Class members, as TWITTER has created an artificial

     market or audience, or fake demand for ads, or Promoted Tweets,

     placed on its platform, and thus has been able to artificially inflate the

     pricing for its advertising.

                         SECOND CLAIM FOR RELIEF

      Violations of the Unfair Practices Act {A.C.A. 4-75-201 et seq}

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418. The preceding paragraphs of this Complaint are realleged and

     incorporated by reference as if fully set forth herein.

419. The purpose (A.C.A. 4-75-202) of the Unfair Practices Act is set out

     as follows: The General Assembly declares that the purpose of this

     subchapter is to safeguard the public against the creation or

     perpetuation of monopolies and to foster and encourage competition

     by prohibiting unfair and discriminatory practices by which fair and

     honest competition is destroyed or prevented.

420. TWITTER is an unregulated monopolistic behemoth in the social

     network space.

                         THIRD CLAIM FOR RELIEF

         Violations of Arkansas Common Law for Fraud and Deceit

421 . The preceding paragraphs of this Complaint are realleged and

     incorporated by reference as if fully set forth herein.

422. This is a claim for damages based upon deceit in accordance with the

     requirements of AMI 402 and the Plaintiff and Class members contend

     that they have sustained damages, that there was a false

     representation of a material fact made by TWITTER, that TWITTER

     either knew that the representation was false or that TWITTER did not

     have a sufficient basis of information to make the representation, that

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     TWITTER intended to induce the Plaintiff and Class members to act or

      refrain from acting in reliance upon the misrepresentation, and that the

      Plaintiff and Class members justifiably relied upon the representation in

      acting or refrain from acting and_as a result sustained damages.

               FOURTH CLAIM FOR RELIEF CONTRACT LAW

423. The preceding paragraphs of this Complaint are realleged and

     incorporated by reference as if fully set forth herein.

424. This is a claim of breach of contract on the part of TWITTER.

425. Plaintiff and Class members contend that there was an agreement and

     that the Plaintiff and Class members relied upon the agreement and

     there were definite terms for the agreement and as a result of the

      breach of the agreement by TWITTER the Plaintiff and Class members

     have suffered damages.

426. It is on the representations by TWITTER on their website that Plaintiffs

     rely for their claim that TWITTER has a uniform contract for Self-Serve

     Advertisers regarding Engagements and Impressions and Promoted

     Tweets, which said contract specifically states, Self-Serve Advertisers

      "Only pay when [REAL] users follow your account or retweet, like,

     reply, or click on your Promoted Tweet," or to say it another way,

      Self-Serve Advertisers "Only pay for real Engagements."

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427. Plaintiff contracted with TWITTER to pay TWITTER to Promote Tweets

     to real people with genuine TWITTER accounts, not fake people with

     fake TWITTER accounts.

428. TWITTER, however, systematically failed to limit charges to

     Engagements generated through genuine TWITTER accounts. Instead,

     Self-Serve Advertisers have been and continue to be unlawfully

     charged for and presently pay for Engagements generated through fake

     TWITTER accounts.

429. TWITTER has consistently represented on its website that it markets

     Promoted Tweets to real people, resulting in genuine Impressions

     generated through genuine TWITTER accounts.

430. TWITTER has consistently represented on its website that it charges

     Self-Serve Advertisers only for Engagements generated through

     genuine TWITTER accounts.

431 . Self-Serve Advertisers have been and continue to be unlawfully

     charged for and presently pay for fake Engagements.

432. TWITTER breached its contract with Plaintiff and Class members as it

     has charged them for fake Engagements.

            FIFTH CLAIM FOR RELIEF PROMISSORY ESTOPPEL




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433. The preceding paragraphs of this Complaint are realleged and

     incorporated by reference as if fully set forth herein.

434. This is a claim of promissory estoppel.

435. TWITTER knowingly made false representations and continues to

     makefalse representations, including but not limited to the following:

     a.    TWITTER misrepresented and continues to misrepresent the

           number of genuine accounts on the TWITTER platform;

     b.    Plaintiff and Class members' detrimentally relied upon

           Defendant's representations regarding the number of genuine

           accounts on the TWITTER platform;

     c.    TWITTER misrepresented and continues to misrepresent that

           ads, or Promoted Tweets will be marketed to real people with

           real TWITTER accounts, not to fake people with fake TWITTER

           accounts.

     d.    Plaintiff and Class members' detrimentally relied upon

           Defendant's representations that ads, or Promoted Tweets will

           be marketed to real people with real TWITTER accounts, not to

           fake people with fake TWITTER accounts.




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 e.   TWITTER misrepresented and continues to misrepresent the

      number of genuine Impressions that ads, or Promoted Tweets

      will generate through genuine TWITTER accounts.

 f.   Plaintiff and Class members' detrimentally relied upon

      Defendant's representations as to the number of genuine

      Impressions that ads, or Promoted Tweets will generate through

      genuine TWITTER accounts;

 g.   TWITTER misrepresented and continues to misrepresent that

      ads, or Promoted Tweets, will result in genuine Engagements

      generated through genuine Twitter accounts, not fake

      Engagements generated through fake TWITTER accounts.

 h.   Plaintiff and Class members detrimentally relied upon

      Defendant's representations that ads, or Promoted Tweets, will

      result in genuine Engagements generated through genuine

      Twitter accounts, not fake Engagements generated through fake

      TWITTER accounts.

 i.   TWITTER misrepresented and continues to misrepresent that

      ads, or Promoted Tweets that ads placed on their social network,

      or the TWITTER website would be marketed to real people;




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j.    Plaintiff and Class members detrimentally relied upon

      Defendant's representations that ads placed on their social

      network, or the TWITTER website would be marketed to real

      people with genuine accounts;

k.    TWITTER knowingly made false representations and continues to

      make false representations about the number of genuine

      accounts, or real people on its social network, or TWITTER

      community;

I.    Plaintiff and Class members' detrimentally relied upon

      Defendant's representations about the number of genuine

      accounts, or real people on its social network, or TWITTER

      community;

m.    TWITTER knowingly made false representations and continues to

      make false representations that ads placed on its platform would

      be marketed to real people with genuine TWITTER accounts on

      the social network, or TWITTER community;

n.    Plaintiff and Class members' detrimentally relied upon

      Defendant's representations that ads placed on its platform

      would be marketed to real people with genuine TWITTER

      accounts on the social network, or TWITTER community;

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     o.    Defendant was Unjustly Enriched at Plaintiff's and Class

           members' expense;

     p.    Plaintiff and the Class are entitled to equitable relief, including,

           but not limited to, injunctive relief and restitution; and

     q.    Plaintiff and the other Class members are entitled to actual,

           statutory, or other forms of damages, and other monetary relief.

436. TWITTER charged Plaintiff and Class members for fake Engagements.

437. TWITTER has been unjustly enriched by marketing ads, or Promoted

     Tweets, to fake TWITTER accounts, which result in fake Impressions,

     which allow, and have allowed TWITTER to profit at the expense of

     DOSHIER and Class members, as TWITTER has created an artificial

     market or audience, or fake demand for ads, or Promoted Tweets,

     placed on its platform, and thus has been able to artificially inflate the

     pricing for its advertising.

                          SIXTH CLAIM FOR RELIEF

                            UNJUST ENRICHMENT

438. The preceding paragraphs of this Complaint are realleged and

     incorporated by reference as if fully set forth herein.

439. TWITTER has been, and will continue to be unjustly enriched at the

     expense of Plaintiff and Class members.

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440. TWITTER has been unjustly enriched by marketing ads, or Promoted

     Tweets, to fake TWITTER accounts, which result in fake Impressions,

     which allow, and have allowed TWITTER to profit at the expense of

     DOSHIER and Class members, as TWITTER has created an artificial

     market or audience, or fake demand for ads, or Promoted Tweets,

     placed on its platform, and thus has been able to artificially inflate the

     pricing for its advertising.

441 . TWITTER has been unjustly enriched by their receipt of monies

     received from Self-Serve Advertisers who purchased ads, based upon

     misrepresentations by TWITTER, including but not limited to the

     following misrepresentations:

     a.    TWITTER has been unjustly enriched by their receipt of monies

           received from Self-Serve Advertisers who purchased ads, based

           upon misrepresentations by TWITTER that the ads would be

           marketed to real people with genuine TWITTER accounts on the

           social network, not fake people with fake TWITTER accounts

      b.   Plaintiff and Class members' detrimentally relied upon

           Defendant's representations that their ads would be marketed to

           real people with genuine accounts on the social network, not

           fake people with fake TWITTER accounts.

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c.    TWITTER has been unjustly enriched by their receipt of monies

      received from Self-Serve Advertisers to which defendant is not

      entitled because of its misrepresentation as to the amount of real

      people with genuine accounts on the social network.

d.    Plaintiff and Class members' detrimentally relied upon

      Defendant's representations about to the amount of real people

      with genuine accounts on the social network.

 e.   TWITTER has been unjustly enriched by their receipt of monies

      received from Self-Serve Advertisers to which defendant is not

      entitled because of its misrepresentation as to the number of

      genuine Engagements they could expect their ads, or Promoted

      Tweets, to generate.

 f.   Plaintiff and Class members' detrimentally relied upon

      Defendant's representations as to the number of genuine

      Engagements they could expect their ads, or Promoted Tweets,

      to generate.

 g.   TWITTER has been unjustly enriched by their receipt of monies

      received from Self-Serve Advertisers to which defendant is not

      entitled because of its misrepresentation as to the number of




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      genuine Impressions they could expect their ads, or Promoted

      Tweets, to generate.

h.    Plaintiff and Class members' detrimentally relied upon

      Defendant's representations as to the number of genuine

      Impressions they could expect their ads, or Promoted Tweets, to

      generate.

i.    Plaintiff and Class members' detrimentally relied upon

      Defendant's representations as to the number of genuine

      Engagements they could expect their ads, or Promoted Tweets,

      to generate.

j.    Plaintiff and Class members' detrimentally relied upon

      Defendant's representations that they would only be charged for

      Engagements generated by real people with real TWITTER

      accounts.

k.    TWITTER misrepresented and continues to misrepresent that an

      ad, or Promoted Tweet, placed on its platform, or social

      network, would be marketed to real people with real TWITTER

      accounts, not fake people with fake Twitter accounts.

I.    Plaintiff and Class members' detrimentally relied upon

      Defendant's representations that an ad, or Promoted Tweet,

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           placed on its platform, or social network, would be marketed to

           real people, not fake people with fake Twitter accounts.

442. TWITTER charged Plaintiff and Class members for fake Engagements.

443. TWITTER has been unjustly enriched by marketing ads, or Promoted

     Tweets, to fake TWITTER accounts, which result in fake Impressions,

     which allow, and have allowed TWITTER to profit at the expense of

     DOSHIER and Class members, as TWITTER has created an artificial

     market or audience, or fake demand for ads, or Promoted Tweets,

     placed on its platform, and thus has been able to artificially inflate the

     pricing for its advertising.

                        SEVENTH CLAIM FOR RELIEF

444. Fixing Prices or Quantities of Products {A.C.A. Sec. 4-75-309}

445. The preceding paragraphs of this Complaint are realleged and

     incorporated by reference as if fully set forth herein.

446. 319. A.C.A. Sec. 4-75-309 states, in pertinent part:

     Any corporation organized under the laws of this or any other state or

     country and transacting or conducting any kind of business in this

     state, or any partnership or individual, or other association or persons

     whatsoever, who is, or creates, enters into, or becomes a member of,

      or a party to, any pool, trust, agreement, combination, confederation,

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or understanding, whether it is made in this state or elsewhere, with

any other corporation, partnership, individual, or any other person or

association of persons, to regulate or fix, either in this state or

elsewhere, the price of any article of manufacture, mechanism,

merchandise, commodity, convenience, repair, any product of mining,

or any article or thing whatsoever, or the price or premium to be paid

for insuring property against loss or damage by fire, lightning, or

tornado, or to maintain the price when so regulated or fixed, or who is,

or enters into, or becomes a member of, or a party to any pool,

agreement, contract, combination, association, or confederation,

whether made in this state or elsewhere, to fix or limit in this state or

elsewhere, the amount or quantity of any article of manufacture,

mechanism, merchandise, commodity, convenience, repair, any

product of mining, or any article or thing whatsoever, or the price or

premium to be paid for insuring property against loss or damage by

fire, lightning, storm, cyclone, or tornado or any other kind of policy

issued by any corporation, partnership, individual, or association of

persons aforesaid, shall be deemed and adjudged guilty of a conspiracy

to defraud and be subject to the penalties as provided by this

subchapter.

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447. TWITTER transacts business in the State of Arkansas.

448. By misrepresenting the number of genuine accounts on its platform, or

     social network, TWITTER is able to charge more for the ads that are

     placed by consumers on the TWITTER website. This is part of a

     coordinated multi-departmental effort by TWITTER to fix the pricing of

     their ads.

449. By misrepresenting the number of genuine Impressions that an ad, or

     Promoted Tweet, can be expected to generate, TWITTER is able to

     charge more for the ads that are placed by consumers on the TWITTER

     website. This is part of a coordinated multi-departmental effort by

     TWITTER to fix the pricing of their ads.

450. By misrepresenting the number of genuine Engagements that an ad, or

     Promoted Tweet, can be expected to generate, TWITTER is able to

     charge more for the ads that are placed by consumers on the TWITTER

     website. This is part of a coordinated multi-departmental effort by

     TWITTER to fix the pricing of their ads.

451. By failing to have adequate policies and procedures in place to detect

     and prevent the creation of fake accounts on its platform TWITTER is

     able to charge more for the ads that are placed by Self-Serve




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     Advertisers on the TWITTER website. This is part of a coordinated

     multi-departmental effort by TWITTER to fix the pricing of their ads.

452. By misrepresenting that ads placed on its platform, or social network,

     are marketed to real people with real TWITTER accounts, when in fact

     they are also marketed to fake people with fake TWITTER accounts,

     TWITTER is able to charge more for the ads that are placed by

     Self-Serve Advertisers on the TWITTER website. This is part of a

     coordinated multi-departmental effort by TWITTER to fix the pricing of

     their ads.

453. By misrepresenting that TWITTER is a social network of real people

     that interact and communicate with each other through Tweets,

     TWITTER is able to charge more for the ads that are placed by

      Self-Serve Advertisers on the TWITTER website. This is part of a

     coordinated multi-departmental effort by TWITTER to fix the pricing of

     their ads.

454. By misrepresenting that advertising on TWITTER will help you "Reach

      [REAL] potential customers" and "Get your messages in front of

      [REAL] people not yet following you by promoting your Tweets," when

      in fact Promoted Tweets are marketed to fake people with fake

      accounts, TWITTER is able to charge more for the ads that are placed

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     by Self-Serve Advertisers on the TWITTER website. This is part of a

     coordinated multi-departmental effort by TWITTER to fix the pricing of

     their ads.

455. By misrepresenting that advertising on TWITTER will help you "Gain

     more [REAL] followers" when in fact Promoted Tweets are also

     marketed to fake people with fake accounts, which generate fake

     Follows, TWITTER is able to charge more for the ads that are placed

     by Self-Serve Advertisers on the TWITTER website. This is part of a

     coordinated multi-departmental effort by TWITTER to fix the pricing of

     their ads.

456. By misrepresenting that advertising on TWITTER will help you "Get

     your messages in front of people [REAL IMPRESSIONS] not yet

     following you by promoting your Tweets," when in fact Promoted

     Tweets are also marketed to fake people with fake accounts, which

     generate fake Impressions, TWITTER is able to charge more for the ads

     that are placed by Self-Serve Advertisers on the TWITTER website.

     This is part of a coordinated multi-departmental effort by TWITTER to

     fix the pricing of their ads.

457. By misrepresenting that advertising on TWITTER will allow you to

     "Amplify your message and get discovered [BY REAL PEOPLE]" as well

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     as help you to "Get your Tweets and your account in front of more

      [REAL] people who are interested in you," when in fact Promoted

     Tweets are also marketed to fake people with fake accounts, which

     can generate fake Follows, TWITTER is able to charge more for the ads

     that are placed by Self-Serve Advertisers on the TWITTER website.

     This is part of a coordinated multi-departmental effort by TWITTER to

     fix the pricing of their ads.

458. By misrepresenting that Self-Serve Advertisers "Only pay when [REAL]

     users follow your account or retweet, like, reply, or click on your

     Promoted," TWITTER is able to charge more for the ads that are

      placed by Self-Serve Advertisers on the TWITTER website. This is part

     of a coordinated multi-departmental effort by TWITTER to fix the

     pricing of their ads.

459. By misrepresenting that Self-Serve Advertisers only pay for real

     Engagements, when in fact they are charged for fake Engagements as

     well, TWITTER is able to charge more for the ads that are placed by

     Self-Serve Advertisers on the TWITTER website. This is part of a

     coordinated multi-departmental effort by TWITTER to fix the pricing of

     their ads.




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460. Through the generation of fake traffic from fake accounts, TWITTER

      fixes the prices of its ads.

461 . Through the creation of an artificially inflated market or audience, i.e.

      fake Impressions, TWITTER fixes the prices of its ads.

462. Through the generation of fake demand from fake accounts, i.e. fake

      Impressions TWITTER fixes the prices of its ads.

463. TWITTER has been unjustly enriched by marketing ads, or Promoted

      Tweets, to fake TWITTER accounts, which result in fake Impressions,

      which allow, and have allowed TWITTER to profit at the expense of

      DOSHIER and Class members, as TWITTER has created an artificial

      market or audience, or fake demand for ads, or Promoted Tweets,

      placed on its platform, and thus has been able to artificially inflate the

      pricing for its advertising.

                              PRAVER FOR RELIEF

464. WHEREFORE, Plaintiff, individually and on behalf of the other Class

      members, respectfully requests that this Court enter an Order:

      a.    Certifying the United States Class and appointing Plaintiff as

            Class Representative;

      b.    Finding that Defendants' conduct was negligent, deceptive,

            unfair, and unlawful as alleged herein;

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c.    Enjoining Defendants from engaging in further negligent,

      deceptive, unfair, and unlawful business practices alleged herein;

 d.   Awarding Plaintiff and the Class members nominal, actual,

      compensatory, and consequential damages;

 e.   Awarding Plaintiff and the Class members statutory damages

      and penalties, as allowed by law;

 f.   Awarding Plaintiff and the Class members restitution and

      disgorgement;

 g.   Awarding Plaintiff and the Class members pre-judgment and

      post-judgment interest;

 h.   Awarding Plaintiff and Class members punitive damages because

      of the unconscionable, unfair, unjust, and arrogant actions of

      TWITTER;

 i.   Awarding Plaintiff and the Class members treble damages,

      similar to those awarded under the False Claims Act, as

      TWITTER has knowingly submitted false claims for payment to

      the Plaintiff and Class members;

 j.   Awarding DOSHIER, as lead plaintiff, a share of the recovery as

      an incentive payment, similar to that awarded to a whistle

      blower plaintiff under the False Claims Act;

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k.    Awarding Plaintiff and the Class members "reasonable attorneys'

      fees," costs and expenses, and;

I.    Granting such other relief as the Court deems just and proper

                       JURY TRIAL DEMAND

Plaintiff demands a trial by jury of all claims.

                                        WILLIAM F. DOSHIER, Plaintiff

                                By:     /s/ David A. Hodges
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